      Case: 23-2842     Document: 34            Filed: 11/14/2023   Pages: 134

                                  No. 23-2842

                                       In the
                  United States Court of Appeals
                            for the Seventh Circuit
                           PAULA WALLRICH, ET AL.,
                                                                Petitioners-Appellees,
                                        v.
                SAMSUNG ELECTRONICS AMERICA, INC., ET AL.,
                                                  Respondents-Appellants.

          On Appeal from the United States District Court for the
           Northern District of Illinois, Case No. 1:22-cv-5506,
          Hon. Harry D. Leinenweber, United States District Judge

            RESPONDENTS-APPELLANTS’ OPENING BRIEF
                AND REQUIRED SHORT APPENDIX

Michael W. McTigue Jr.                    Shay Dvoretzky
Meredith C. Slawe                          Counsel of Record
Kurt Wm. Hemr                             Parker Rider-Longmaid
Colm P. McInerney                         Kyser Blakely
Jeremy Patashnik                          SKADDEN, ARPS, SLATE,
SKADDEN, ARPS, SLATE,                      MEAGHER & FLOM LLP
 MEAGHER & FLOM LLP                       1440 New York Ave., NW
One Manhattan West                        Washington, DC 20005
New York, NY 10001                        Telephone: 202-371-7000
                                          shay.dvoretzky@skadden.com
Randall W. Edwards
Matthew D. Powers                         Jonathan D. Hacker
O’MELVENY & MYERS LLP                     O’MELVENY & MYERS LLP
Two Embarcadero Center,                   1625 Eye Street, NW
 28th Floor                               Washington, DC 20006
San Francisco, CA 94111

  Counsel for Respondents-Appellants Samsung Electronics America, Inc., and
 Samsung Electronics, Co., Ltd. (additional counsel information on inside cover)
      Case: 23-2842   Document: 34        Filed: 11/14/2023   Pages: 134



          Additional counsel information continued from front cover

Mark Howard Boyle                      Ashley M. Pavel
DONOHUE BROWN                          O’MELVENY & MYERS LLP
 MATHEWSON & SMYTH LLC                 610 Newport Center Drive,
131 South Dearborn Street,              17th Floor
 Suite 1600                            Newport Beach, CA 92660
Chicago, IL 60603
                                       James L. Kopecky
                                       KOPECKY SCHUMACHER
                                        ROSENBURG LLC
                                       120 North LaSalle Street,
                                        Suite 2000
                                       Chicago, IL 60601

 Counsel for Respondents-Appellants Samsung Electronics America, Inc., and
                      Samsung Electronics, Co., Ltd.
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                     Case: 23-2842                Document: 34                    Filed: 11/14/2023               Pages: 134
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: _______________
                    23-2842

Short Caption: _________________________________________________________________________________________
               Paula Wallrich, et al v. Samsung Electronics America, Inc. et al

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          ________________________________________________________________________________________________________
          Samsung Electronics Co., Ltd. ("SEC")

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          ________________________________________________________________________________________________________
           Skadden, Arps, Slate, Meagher & Flom LLP; O'Melveny & Myers LLP; Donohue Brown Mathewson & Smyth LLC;

          ________________________________________________________________________________________________________
          Kopecky Schumahcer Rosenburg LLC

(3)       If the party, amicus or intervenor is a corporation:

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                    ________________________________________________________________________________________________

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                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________
           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



                      /s/ Shay Dvoretzky
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Shay Dvoretzky

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         1440 New York Avenue, NW
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           Washington, DC 20005

              (202) 371-7370
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (202) 661-2370

                shay.dvoretzky@skadden.com
E-Mail Address: __________________________________________________________________________________________________
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                                                                                                           Save As                  Clear Form
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          ________________________________________________________________________________________________________
           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



                      /s/ Parker Rider-Longmaid
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Parker Rider-Longmaid

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         1440 New York Avenue, NW
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           Washington, DC 20005

              (202) 371-7061
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (202) 661-4061

                parker.rider-longmaid@skadden.com
E-Mail Address: __________________________________________________________________________________________________
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          ________________________________________________________________________________________________________
           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



                      /s/ Kyser Blakely
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Kyser Blakely

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         1440 New York Avenue, NW
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           Washington, DC 20005

              (202) 371-7398
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (202) 371-8398

                kyser.blakely@skadden.com
E-Mail Address: __________________________________________________________________________________________________
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                     Case: 23-2842                Document: 34                    Filed: 11/14/2023               Pages: 134
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Appellate Court No: _______________
                    23-2842

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           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



                      /s/ Michael W. McTigue Jr.
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Michael W. McTigue Jr.

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         One Manhattan West
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           New York, NY 10001

              (212) 735-3000
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (212) 735-2000

                michael.mctigue@skadden.com
E-Mail Address: __________________________________________________________________________________________________
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          ________________________________________________________________________________________________________
          N/A



                      /s/ Meredith C. Slawe
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Meredith C. Slawe

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         One Manhattan West
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           New York, NY 10001

              (212) 735-3000
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (212) 735-2000

                meredith.slawe@skadden.com
E-Mail Address: __________________________________________________________________________________________________
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          N/A



                      /s/ Kurt Wm. Hemr
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Kurt Wm. Hemr

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         One Manhattan West
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           New York, NY 10001

              (212) 735-3000
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (212) 735-2000

                kurt.hemr@skadden.com
E-Mail Address: __________________________________________________________________________________________________
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          ________________________________________________________________________________________________________
          N/A



                      /s/ Colm P. McInerney
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Colm P. McInerney

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         One Manhattan West
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           New York, NY 10001

              (212) 735-3000
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (212) 735-2000

                colm.mcinerney@skadden.com
E-Mail Address: __________________________________________________________________________________________________
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           Skadden, Arps, Slate, Meagher & Flom LLP; O'Melveny & Myers LLP; Donohue Brown Mathewson & Smyth LLC;

          ________________________________________________________________________________________________________
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          ________________________________________________________________________________________________________
           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



                      /s/ Jeremy Patashnik
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Jeremy Patashnik

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         One Manhattan West
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           New York, NY 10001

              (212) 735-3000
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (212) 735-2000

                jeremy.patashnik@skadden.com
E-Mail Address: __________________________________________________________________________________________________
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: _______________
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Short Caption: _________________________________________________________________________________________
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          ________________________________________________________________________________________________________
          N/A



                      /s/ Randall W. Edwards
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Randall W. Edwards

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         Two Embarcadero Center, 28th Floor
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           San Francisco, CA 94111-3823

              (415) 984-8700
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (415) 984-8701

                redwards@omm.com
E-Mail Address: __________________________________________________________________________________________________
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                      /s/ Matthew D. Powers
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Matthew D. Powers

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         Two Embarcadero Center, 28th Floor
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           San Francisco, CA 94111-3823

              (415) 984-8700
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (415) 984-8701

                mpowers@omm.com
E-Mail Address: __________________________________________________________________________________________________
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          N/A



                      /s/ Jonathan D. Hacker
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Jonathan D. Hacker

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         1625 Eye Street, NW
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           Washington, DC 20006-4061

              (202) 383-5300
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (202) 383-5414

                jhacker@omm.com
E-Mail Address: __________________________________________________________________________________________________
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(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



                      /s/ Ashley M. Pavel
Attorney’s Signature: ________________________________________       11/14/2023
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Ashley M. Pavel

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         610 Newport Center Drive, 17th Floor,
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           Newport Beach, CA 92660-6419

              (949) 823-6900
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   (949) 823-6994

                apavel@omm.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
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                    REQUEST FOR ORAL ARGUMENT

      In accordance with Federal Rule of Appellate Procedure 34(a) and Cir-

cuit Rule 34(f), Respondents-Appellants Samsung Electronics America, Inc.,

and Samsung Electronics Co., Ltd. (collectively, Samsung), respectfully re-

quest oral argument. This appeal involves important questions arising in the

novel mass-arbitration context, and Appellees’ counsel’s conduct and the

district court’s order threaten to impose massive nonrefundable and unre-

coverable arbitration costs on Samsung with no benefit to any party. The

petition to compel arbitration is an effort to extort a settlement benefitting

Appellees’ lawyers. Oral argument would substantially aid the Court in its

resolution of this case.




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                             INTRODUCTION

     This appeal arises from Labaton Sucharow’s ongoing attempt to shake

down Samsung Electronics America, Inc., and Samsung Electronics Co., Ltd.

(collectively, Samsung), and a district court order that committed legal error

by permitting those abusive tactics. Labaton initiated 50,000 identical

arbitration demands against Samsung on behalf of alleged owners of

unspecified Samsung devices. And although the claims are frivolous,

premised on demonstrably false assertions about how Samsung devices

work, that was beside the point, because the claims were tools of extortion,

not attempts to win on the merits. If Labaton could convince the American

Arbitration Association (AAA) to go along, Labaton could threaten Samsung

with more than $100 million in nonrefundable, likely unrecoverable arbitra-

tion fees. Then Labaton could demand $50 million or more as a settlement to

line its lawyers’ pockets to make the claims go away. Perhaps that is why

Labaton did no diligence, instead filing arbitration demands on behalf of nu-

merous individuals with threshold deficiencies, like being deceased or

represented by separate counsel.

     Unfortunately for Labaton, both Samsung and the AAA refused to go

along with the lawyers’ extortion attempt. Samsung pointed out the


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deficiencies to the AAA and declined to pay the filing fees. The AAA re-

sponded, consistent with its rules, by giving Labaton the opportunity to

advance the fees and proceed with the arbitrations or instead have the arbi-

trations dismissed so Appellees could pursue their claims in court. Of

course, Labaton had no intention of proceeding on the merits in any forum,

because its goal was simply to trigger extortionate filing fees to leverage a

massive settlement for the lawyers’ benefit. Indeed, when given the oppor-

tunity to proceed with arbitration for the 14 California claimants for whom

Samsung paid the fees (given an onerous California law), Labaton declined.

Actually pursuing claims to resolution—claims it knows lack merit—was

never part of Labaton’s scheme.

      In response to Labaton’s tactics, Samsung played by the rules the par-

ties agreed to—assuming Appellees are all real, living Samsung-device

owners (more on that dubious premise below). The arbitration agreements

incorporated the AAA’s rules. Those rules, in turn, give the AAA complete

discretion over every administrative detail, like the payment of filing fees.

Importantly, the rules address the scenario where counsel bring multiple,

coordinated arbitration demands and one party chooses (for whatever rea-

son) not to pay arbitral fees. In that event, the AAA gives the other party the

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opportunity to advance payment if it wants to proceed with arbitration. If

that party does not advance payment, then the AAA can decline to adminis-

ter the arbitration. If that happens, then either party is free to litigate their

claims in court.

      Samsung followed those rules. Samsung stood ready to arbitrate if

Labaton or their clients were willing to advance the administrative filing

fees. But when the AAA offered Labaton that opportunity—the opportunity

to arbitrate—Labaton refused. (Again, actually arbitrating was not part of

the plan.) So the AAA exercised its discretion and closed the arbitrations,

letting Appellees pursue their claims in court, where Samsung was willing

to fight on the merits (or lack thereof) without the extortionate threat of

nonrefundable mass-arbitration fees.

      Labaton refused to accept the AAA’s exercise of its discretion under its

rules not to require Samsung to pay the fees and to close the arbitrations.

Instead, Labaton asked the district court to compel arbitration under the

Federal Arbitration Act (FAA), 9 U.S.C. § 4, and to require Samsung to pay

those fees. The district court went along for the 35,651 claimants that had

sued in the proper venue. Of course, a court can compel arbitration only

when the movant proves the parties have in fact agreed to arbitrate, meaning

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the movant must produce some evidence of that agreement, as this Court’s

precedent makes clear. But the district court took as sufficient the unverified,

unsworn word of Labaton’s petition on behalf of tens of thousands of claim-

ants. The court then decided that Samsung needed to arbitrate, and it

compounded the error by concluding that it could decide the fee question

the AAA rules expressly committed to the AAA.

      That was error twice over. This Court should reverse.

      1.    The district court erred in ruling—based on no evidence—that

Appellees met their evidentiary burden of establishing that each of them had

a valid arbitration agreement with Samsung. As the party seeking to compel

arbitration, Appellees had the initial burden to proffer evidence showing that

they each agreed to arbitrate with Samsung. See Carroll v. Lynch, 698 F.3d 561,

564 (7th Cir. 2012); Kass v. PayPal Inc., 75 F.4th 693, 703 (7th Cir. 2023). But

they submitted no evidence to carry that burden, relying instead only on the

bare allegations in their petition. The district court erred in shifting the bur-

den to Samsung and compelling arbitration.

      2.    The district court erred in compelling arbitration and ordering

Samsung to pay filing fees.




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      a.       All versions of the arbitration agreements (assuming solely for

sake of argument that any Appellee actually entered into one) provide that

administrative fees “shall be determined according to AAA rules” or equiv-

alent language. That means only the AAA can decide whether the parties

owe administrative fees and, if so, how much they owe and when payment

is due. But the district court rewrote these “clear and unmistakable” terms,

Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 530 (2019), giving

itself the authority to determine whether and when Samsung must pay

administrative filing fees. In other words, the court rewrote the contracts.

That was error.

      b.       The district court erred in ordering Samsung to pay filing fees

after the AAA had decided not to do so. The AAA acted well within its

authority when it decided (a) not to order or otherwise require Samsung to

pay the filing fees; (b) to give Appellees the option to advance the unpaid

fees; and (c) to close the cases, thus triggering the right of either party to lit-

igate the claims in court. The district court, by ordering Samsung to pay the

filing fees, usurped the AAA’s authority and overrode its discretionary de-

cision.




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      c.    Even if the parties had not expressly agreed that the AAA would

resolve administrative fee issues, those issues would still be committed to

the AAA, not the courts, because they are procedural matters reserved ex-

clusively for arbitral bodies and arbitrators, as the Fifth Circuit and other

courts have recognized. See, e.g., Dealer Computer Services, Inc. v. Old Colony

Motors, Inc., 588 F.3d 884, 887 (5th Cir. 2009). The district court’s reasons for

rejecting those decisions fail, and this Court should not create a circuit split.

                       JURISDICTIONAL STATEMENT

      A.    The district court had subject matter jurisdiction under
            Chapter 2 of the Federal Arbitration Act, 9 U.S.C. § 203.

      The district court had jurisdiction under Chapter 2 of the FAA, which

implements the Convention on the Recognition and Enforcement of Foreign

Arbitral Awards (Convention). See 9 U.S.C. §§ 201–203; RSA11-14; Doc. 27.*

      1.    Section 203 of the FAA provides “an independent grant of fed-

eral subject matter jurisdiction.” Certain Underwriters at Lloyd’s London v.

Argonaut Insurance Co., 500 F.3d 571, 581 n.9 (7th Cir. 2007). Specifically, “[a]n

action or proceeding falling under the Convention shall be deemed to arise

under the laws and treaties of the United States,” and a district court has

      * “RSA” is the Required Short Appendix. “_-SA” refers to the Supple-

mental Appendix by volume.

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“jurisdiction over such an action or proceeding, regardless of the amount in

controversy.” 9 U.S.C. § 203; see also id. § 201; Jain v. de Méré, 51 F.3d 686, 689

(7th Cir. 1995). An arbitration agreement “falls under the Convention” if the

agreement “is considered as commercial” and is not “entirely between

citizens of the United States.” 9 U.S.C. § 202. “Commercial” refers to § 2 of

the FAA, meaning it reaches “to the full extent of [Congress’] commerce

power.” Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 114 (2001). And “a

corporation is a citizen of the United States if it is incorporated or has its

principal place of business in the United States.” 9 U.S.C. § 202.

      2.    Accepting as true only for jurisdictional purposes Appellees’ al-

legations that they have arbitration agreements with Samsung, but see infra

pp. 38-46, this action falls under the Convention and thus triggers jurisdic-

tion under § 203, because the arbitration agreements are indisputably

“commercial” and not “entirely between citizens of the United States.” 9

U.S.C. § 202. Appellees allege that they are U.S. citizens, and Appellant Sam-

sung Electronics Co., Ltd. (SEC), is a South Korean citizen because it is a

South Korean company incorporated in Korea, with its principal place of

business in Korea. See Doc. 27, at 4-7. Jurisdiction still exists even if SEC is

deemed a partnership, limited liability company, or other unincorporated

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entity with the citizenship of all its members, because SEC has Korean-citi-

zen shareholders. See Doc. 27, at 7-8. Thus, the Court “need not decide”

whether SEC is in fact a foreign corporation. White Pearl Inversiones S.A.

(Uruguay) v. Cemusa, Inc., 647 F.3d 684, 687 (7th Cir. 2011).

      The Court’s November 8, 2023, order requests briefing on Vaden v.

Discover Bank, 556 U.S. 49 (2009). Vaden confirms the analysis above, explain-

ing that Chapter 2 of the FAA “expressly grant[s] federal courts jurisdiction

to hear actions seeking to enforce an agreement or award falling under the

Convention on the Recognition and Enforcement of Foreign Arbitral

Awards.” Id. at 59 n.9. Vaden otherwise has little relevance. Vaden held that

under § 4 of the FAA, a district court has jurisdiction over a petition to com-

pel arbitration only if the court would otherwise have jurisdiction over the

underlying lawsuit—that is, neither § 4 nor the FAA generally confers sub-

ject matter jurisdiction. Id. at 58-59, 70. As the Court stressed, however, Vaden

itself did “not implicate[]” Chapter 2 of the FAA, which “does expressly

grant federal courts jurisdiction.” Id. at 59 n.9. This Court’s precedent reflects

“no doubt” about that principle. Employers Insurance of Wausau v. El Banco de

Seguros del Estado, 357 F.3d 666, 668 (7th Cir. 2004); see International Insurance

Co. v. Caja Nacional de Ahorro y Seguro, 293 F.3d 392, 396 (7th Cir. 2002).

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      B.    This Court has appellate jurisdiction under the FAA, 9 U.S.C.
            § 16(a)(3).

      This Court has appellate jurisdiction under the FAA, 9 U.S.C.

§ 16(a)(3), because the district court’s order compelling arbitration resolved

the only issue in the case and is thus a “final decision” under that statute.

The Supreme Court’s, this Court’s, and other courts of appeals’ precedent is

clear on that rule. See Docs. 17, 19.

            1.     Section 16(a)(3) confers appellate jurisdiction to review
                   orders compelling arbitration that resolve the dispute
                   before the district court.

      Section 16(a)(3) provides that an “appeal may be taken from … a final

decision with respect to an arbitration that is subject to” the FAA. 9 U.S.C.

§ 16(a)(3). In American International Specialty Lines Insurance Co. v. Electronic

Data Systems Corp., 347 F.3d 665, 668 (7th Cir. 2003), this Court reaffirmed

that an order compelling arbitration is a “final decision” under 9 U.S.C.

§ 16(a)(3), and therefore appealable, when the sole issue before the district

court was a claim for arbitration under the FAA. That is true even if the

district court stays rather than dismisses the action. Id. The rule, without ex-

ception, is that § 16(a)(3) confers appellate jurisdiction over an order




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compelling arbitration “issued in a case brought to obtain that relief and

nothing else.” Id. at 667-68.

      Other courts of appeals agree. Start with the Ninth Circuit: “When the

only matter before a district court is a petition to compel arbitration and the

district court grants the petition, appellate jurisdiction may attach regardless

of whether the district court issues a stay.” International Alliance of Theatrical

Stage Employee & Moving Picture Technicians, Artists, & Allied Crafts of the

United States v. InSync Show Productions, Inc., 801 F.3d 1033, 1040 (9th Cir.

2015). Succinctly put, “a district court presented with a petition to compel

arbitration and no other claims cannot prevent appellate review of an order

compelling arbitration by issuing a stay.” Id. at 1041.

      The Eleventh Circuit applies the same rule: “an order compelling

arbitration triggered by a complaint seeking solely such an order is generally

considered final and appealable because it ‘resolves the only issue before the

district court.’” United Steel, Paper and Forestry, Rubber, Manufacturing,

Energy, Allied Industrial & Service Workers International Union v. Wise Alloys,

LLC, 807 F.3d 1258, 1266-67 (11th Cir. 2015). A stay rather than dismissal fol-

lowing such an order does not make the order interlocutory for the simple

reason that “there [is] nothing to stay.” Id. at 1268.


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      The Fifth Circuit, too, holds that when “the sole remedy sought” is

arbitration, and the district court issues an “order compelling arbitration,”

the order is “a final appealable decision under 9 U.S.C. § 16(a)(3)” because

there is “nothing left for the court to do.” Brown v. Pacific Life Insurance Co.,

462 F.3d 384, 391 (5th Cir. 2006). A stay accompanying the order compelling

arbitration is “of no moment” because “there [is] nothing left for the district

court to stay.” Id. at 391-92.

            2.     Green Tree supports this Court’s and other courts of
                   appeals’ rule.

      a.    Green Tree Financial Corp.-Alabama v. Randolph, 531 U.S. 79 (2000),

supports the clear rule set out above. Green Tree held that where a district

court “has ordered the parties to proceed to arbitration, and dismissed all

the claims before it, that decision is ‘final’ within the meaning of § 16(a)(3),

and therefore appealable.” Id. at 89. Green Tree did not call into question the

longstanding precedent—from this Court and others—that an order

compelling arbitration is final in a case “in which a request to order

arbitration is the sole issue before the court.” Id. at 88. That is because the

Court interpreted “final decision” in § 16(a)(3) to carry its “well-established

meaning”—a decision that “ends the litigation on the merits.” Id. at 86.



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      Given Green Tree’s narrow holding, multiple courts of appeals—in-

cluding this Court—have concluded that their longstanding precedent,

holding that an order compelling arbitration is final when arbitration is the

only issue, “remains good law.” International Alliance, 801 F.3d at 1040; see

American International, 347 F.3d at 667-68; United Steel, 807 F.3d at 1266-67;

Brown, 462 F.3d at 391-92.

      b.    To be sure, Green Tree clarified how finality principles work

under § 16(a)(3). But its effect was to expand the scope of “final decisions”

under § 16(a)(3) to include orders compelling arbitration where the court

also resolved other requests for relief. As this Court recognized, Green Tree

explained that an order compelling arbitration, “even if entered in a case in

which other relief besides the order was sought,” is final if it “plainly

disposed of the entire case on the merits.” American International, 347 F.3d at

668 (quoting Green Tree, 531 U.S. at 86-87). Green Tree thus rejected the notion

that an order compelling arbitration “is never final and appealable in a case

in which other relief is sought.” American International, 347 F.3d at 668. In

other words, Green Tree clarified that the scope of “final decision” under §

16(a)(3) is broader than the lower courts had thought, and it rooted that un-

derstanding in “a consistent and longstanding interpretation” of the term

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“final decision.” 531 U.S. at 88. The Court thus held that even orders

compelling arbitration in “embedded” proceedings could be final under

§ 16(a)(3), depending on the circumstances. Id. at 88-89. So, while Green Tree

overruled certain aspects of prior decisions that had construed § 16(a)(3) too

narrowly, e.g., Napleton v. General Motors Corp., 138 F.3d 1209, 1212 (7th Cir.

1998), it did “not disturb” the rule that “[w]hen the only matter before a

district court is a petition to compel arbitration and the district court grants

the petition, appellate jurisdiction may attach regardless of whether the

district court issues a stay,” International Alliance, 801 F.3d at 1040; see id. at

1040 n.4 (favorably quoting American International, 347 F.3d at 668); accord

United Steel, 807 F.3d at 1267; Brown, 462 F.3d at 391.

      Footnote 2 of Green Tree does not change that analysis. Footnote 2 ob-

served that the particular order at issue “would not [have been] appealable”

under § 16(a)(3) had the court “entered a stay instead of a dismissal.” Green

Tree, 531 U.S. at 87 n.2. But as the Ninth and Eleventh Circuits have ex-

plained, that footnote must be read in the context of Green Tree itself. See

International Alliance, 801 F.3d at 1040-41; United Steel, 807 F.3d at 1269-70.

      Green Tree involved substantive claims in addition to the request for

arbitration. 531 U.S. at 82-83. “In Green Tree, the plaintiff brought claims

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under the Equal Opportunity Credit Act and the Truth in Lending Act.”

United Steel, 807 F.3d at 1270. “Simply ordering the case to arbitration,” the

Eleventh Circuit explained, “did not technically dispose of the substantive

claims that the plaintiff had brought, requiring the court to proceed with

parallel litigation, stay the claims, or possibly dismiss the case.” Id. Had the

district court “entered a stay instead of dismissing the plaintiff’s claims,”

those “claims would have remained pending, rendering the district court’s

order compelling arbitration interlocutory instead of final.” Id. But that

scenario differs from a case where an “order compelling arbitration resolved

the merits of the only claim for relief advanced by any party to the action.”

Id. In the latter scenario, “nothing remain[s] for the district court to stay,”

meaning “the order [is] final” no matter whether the court entered a stay. Id.;

see also International Alliance, 801 F.3d at 1040; Brown, 462 F.3d at 391-92.

            3.    This Court has jurisdiction to review the district court’s
                  order under 9 U.S.C. § 16(a)(3).

      a.    As the foregoing caselaw makes clear, the Court has jurisdiction

to review the order under § 16(a)(3). Appellees filed a petition (and motion)

to compel arbitration under § 4 of the FAA. They sought just one thing—an

order requiring Samsung to arbitrate—and they did not raise their



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underlying state-law claims before the district court. See 1-SA21. The district

court, in turn, understood that Appellees had raised only one claim for relief,

and it “order[ed] the parties to arbitrate.” RSA36. The court’s resolution of

that lone claim left nothing else for it to do. The order is “final” under

§ 16(a)(3), and the court’s entry of a stay does not change that. See Doc. 17, at

3-4; Doc. 19, at 17.

      b.    This Court has jurisdiction under § 16(a)(3) despite the absence

of a “separate document,” Wisconsin Central Limited v. TiEnergy, LLC, 894

F.3d 851, 854 (7th Cir. 2018), memorializing the fact that “the judgment really

is final,” Borrero v. City of Chicago, 456 F.3d 698, 699-700 (7th Cir. 2006). Again,

there is nothing left for the district court to do. The order compelling arbi-

tration “makes it clear that the district court was finished with the case,” “so

[this Court] may proceed.” Levy v. West Coast Life Insurance Co., 44 F.4th 621,

625 (7th Cir. 2022). See generally Doc. 17.

      C.    Samsung timely appealed.

      On September 12, 2023, the district court granted Appellees’ motion to

compel arbitration and ordered Samsung to pay filing fees. RSA36. On Sep-

tember 15, 2023, Samsung timely filed its notice of appeal. 9-SA2417.




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                          STATEMENT OF ISSUES

      1.    Whether the district court erred in ruling, based on no evidence,

that Appellees met their evidentiary burden to establish that they each had

a valid arbitration agreement with Samsung.

      2.    Whether the district court erred in resolving the administrative-

fee dispute given that (a) the parties expressly agreed that administrative

fees “shall be determined according to AAA rules,” 5-SA1162; (b) the AAA

exercised its discretion over administrative fees by declining to order or oth-

erwise require Samsung to pay the filing fees and instead closing the

arbitrations, thus freeing the parties to litigate in court; and (c) administra-

tive fees are core procedural matters for arbitral bodies and arbitrators to

decide, as the Fifth Circuit and other courts have held.

                        STATEMENT OF THE CASE

      A.    Legal background

      “Arbitration is a matter of contract,” AT&T Mobility LLC v. Concepcion,

563 U.S. 333, 351 (2011), and the FAA “requires courts to place arbitration

agreements ‘on equal footing with all other contracts,’” Kindred Nursing Cen-

ters L. P. v. Clark, 581 U.S. 246, 248 (2017). This equal-footing principle is key:

Congress enacted the FAA “to make ‘arbitration agreements as enforceable


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as other contracts, but not more so.’” Morgan v. Sundance, Inc., 596 U.S. 411,

418 (2022). “The federal policy is about treating arbitration contracts like all

others, not about fostering arbitration.” Id. Therefore, “a court may not de-

vise novel rules to favor arbitration over litigation.” Id.

      Courts must enforce provisions in arbitration agreements according to

their terms, Lamps Plus, Inc. v. Varela, 139 S. Ct. 1407, 1415-16 (2019), espe-

cially terms delegating issues to an arbitral body, Henry Schein, 139 S. Ct. at

527. For instance, although a court must always decide “the contract-for-

mation issue,” parties “may delegate all other issues … to the arbitrator,”

K.F.C. v. Snap Inc., 29 F.4th 835, 837 (7th Cir. 2022) (emphasis added), and “a

court possesses no power” to “override the contract,” Henry Schein, 139 S. Ct.

at 529. Nor may a court second-guess an arbitral determination when it is

the arbitral body’s decisionmaking that the parties “bargained for.” Oxford

Health Plans LLC v. Sutter, 569 U.S. 564, 569 (2013).

      B.    Factual and procedural background

      Appellees invoke arbitration agreements that they claim (without evi-

dence) they entered into with Samsung. Solely for purposes of this appeal,

Samsung assumes that, if Appellees have arbitration agreements with




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Samsung, but see infra pp. 38-46, the agreements are those attached to Appel-

lees’ petition. See, e.g., 5-SA1161-63.

            1.     Samsung’s arbitration agreement provides that the
                   arbitration process is governed by the AAA Rules.

      “Samsung designs, manufactures, and sells devices, including

smartphones and tablets.” RSA3. Under the arbitration agreements attached

to the petition, when an individual purchases or uses a Samsung device, they

agree to arbitrate “all disputes” with “Samsung relating in any way to or

arising in any way from the Standard Limited Warranty or the sale, condi-

tion or performance of the Product.” 5-SA1162. Samsung device owners also

agree not to join a “class action” or any other “combined or consolidated”

dispute. Id.; see also RSA4.

      The arbitration agreements attached to the petition specify that every

arbitration “shall be conducted according to [AAA rules].” 5-SA1162. The

agreements give the arbitrator the authority to “decide all issues of interpre-

tation and application of [the arbitration agreement].” Id. They also specify

when certain fees and costs, like attorneys’ fees and expert witness fees, may

be awarded. Id. “Administrative … and arbitrator fees,” on the other hand,




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“shall be determined according to AAA rules” when the “total damage

claims … exceed $5,000.00.” Id.

           2.    The AAA has complete discretion over the arbitration
                 process, including administrative fees.

     In certain consumer arbitrations, including the arbitrations underlying

this case, see 5-SA1266, the AAA applies the Consumer Arbitration Rules, see

5-SA1164-1212, and the Supplementary Rules for Multiple Case Filings, see

5-SA1254-64 (collectively, the AAA Rules). The Supplementary Rules, now

known as the “Mass Arbitration Supplementary Rules,” reflect “the AAA’s

commitment to addressing the unique challenges and complexities associ-

ated with handling mass arbitrations”—Labaton’s tactic here—“and

demonstrate[] the organization’s dedication to staying current and adapting

to the ever-changing landscape of alternative dispute resolution.” AAA,

What We Do: Mass Arbitration, https://www.adr.org/mass-arbitration (last

visited November 14, 2023). The AAA “developed” the mass arbitration

rules “to streamline the administration of large volume filings” and “pro-

vide parties and their representatives with an efficient and economical path

toward the resolution of multiple individual disputes.” 5-SA1257. As ex-

plained in detail below (at 20-21), the rules contain a protocol for when one



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party declines to pay fees: the other party can advance the fees, but if they

choose not to, then the AAA may suspend or terminate the arbitrations. 5-

SA1263. Should the AAA close the arbitrations, then, under the Consumer

Arbitration Rules, either side may proceed on the merits in court. 5-SA1263.

      The AAA Rules make clear that “[t]he AAA has the discretion to apply

or not to apply the [AAA Rules].” 5-SA1170; see also 5-SA1258. That “discre-

tion” extends to “all AAA administrative fees,” like “filing fees, case

management fees and hearing fees.” 5-SA1198. For example, “the AAA

retains the discretion to interpret and apply [the] fee schedule to a particular

case or cases.” Id. It may “defer or reduce the consumer’s administrative

fees.” 5-SA1177. And the “AAA, in its sole discretion, may consider an

alternative payment process for multiple case filings.” 5-SA1200. (“Multiple

case filings” are when, as here, the same or coordinated counsel files 25 or

more similar demands against the same respondents. See 5-SA1258.) In short,

the AAA Rules give “the AAA”—including the “Case Administrator … as-

signed to handle the administrative aspects of the case”—full discretion over

“administrative fees.” 5-SA1198, 5-SA1208.

      Discretion aside, the default AAA rules governing administrative fees

are simple. Take filing fees: each party has certain pre-determined filing-fee

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obligations and those fees are nonrefundable. 5-SA1197-1201. “Filing fees are

non-refundable,” the AAA Rules explain, even if “the cases are closed due

to settlement or withdrawal.” 5-SA1200.

      Sometimes, parties do not pay the filing fees (or other administrative

fees). But the AAA Rules address that scenario, too, specifically in the con-

text of multiple case filings. In the event of nonpayment, “the AAA may

notify the parties in order that one party may advance the required payment

within the time specified by the AAA.” 5-SA1263. If another party advances

payment, the arbitration will proceed and the advancing party, if successful

in arbitration, may recover the fees from the other party in the final arbitra-

tion award. See 5-SA1192. But if the fees are not paid—by any party—before

an arbitrator is appointed, “the AAA may suspend or terminate those pro-

ceedings.” 5-SA1263; see 5-SA1196. “Should the AAA decline to administer

an arbitration, either party may choose to submit its dispute to the

appropriate court for resolution.” 5-SA1174.

            3.    Appellees’ counsel file 50,000 identical arbitration
                  demands against Samsung.

      Appellees’ counsel, Labaton, simultaneously filed 50,000 individual

claims with the AAA as part of a scheme to extract a massive settlement from



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Samsung. See RSA6; Dist. Ct. Doc. 27, at 6-13. After an unsuccessful media-

tion, Labaton “immediately threatened … to file 50,000 demands for

arbitration with the AAA absent an offer from Samsung to pay Labaton Su-

charow at least $50 million. Samsung refused to acquiesce,” Doc. 27-11 at 2,

so Labaton followed through. It filed 50,000 arbitration demands to trigger

escalating nonrefundable arbitration fees that could top $100 million. See

Doc. 28, at 12 (calculation). It sought “to bury Samsung under the weight of

hundreds of millions of dollars in arbitration fees” and use that financial

“leverage” to “pressure” Samsung into settling for $50 million or more. Dist.

Ct. Doc. 26, at 1.

      Each demand was identical, alleging the same state-law violations and

seeking “at least $15,000” in “statutory damages.” 5-SA1246. While each

claimant parroted the same allegation that they were a Samsung device

owner, see, e.g., 5-SA1214 ¶ 1, not one provided evidence for that assertion.

Instead, Labaton simply provided the AAA with a spreadsheet containing

each claimant’s name, address, and contact information. See 5-SA1267;

RSA7-8. Labaton also made demands on behalf of individuals with thresh-

old issues concerning their ability to obtain relief, such as being deceased or

being represented by different counsel. See Dist. Ct. Doc. 27, at 14 (listing

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various deficiencies); see also Dist. Ct. Doc. 65, at 14 n.8 (providing examples

of the dual-representation issue). Other claimants submitted duplicate

claims. See 2-SA445 (three Deonta Daniels from Chicago Heights); 4-SA1064

(two Charlean Garrisons from Joliet); 4-SA1134 (two Mark D’Arienzos from

Skokie). Still other claimants appeared to be fictitious, uninvestigated, or

otherwise erroneously entered. See, e.g., 1-SA96 (Bluff Master); 1-SA80 (Vain

Exp); 1-SA33 (Lornabridges Bridges); 4-SA1153 (Gl Williams).

      Based on a sampling of the data that Labaton submitted to the AAA,

Samsung told the AAA that it had “serious concerns about the accuracy and

integrity” of the 50,000 arbitration demands and flagged several issues. 5-

SA1251. The AAA, like Samsung, identified “inaccurate and/or incomplete

information” in the claimants’ filing materials. 5-SA1266. Such information

included incomplete addresses and names that appeared to be fake, like

“Full Chck.” 5-SA1267. “There [were] numerous additional cases with the

same or similar inaccurate/incomplete information.” 5-SA1266. The AAA

thus ordered the claimants to either correct the defects or withdraw their

claims. Id. Labaton submitted a revised spreadsheet, but still did not provide

any evidence that each claimant was a Samsung device owner subject to a

valid arbitration agreement with Samsung. See RSA8 (citing 5-SA1279).

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      Those issues did not prevent the AAA from determining that the

claimants had “met the AAA’s administrative filing requirements,” 5-

SA1269, for the simple but important reason that the AAA does not require

claimants to prove with evidence at filing that they are bound by a valid ar-

bitration agreement. The AAA instead requires claimants to simply attach

an arbitration agreement to their demand without proof that they are bound

by it. Thus, when the AAA decided that the claimants “had satisfied the req-

uisite filing requirements,” it “did not speak to whether a valid arbitration

agreement existed between the parties.” Chase Bank USA, N.A. v. Swanson,

No. 10-cv-06972, 2011 WL 529487, at *2 n.2 (N.D. Ill. Feb. 4, 2011).

            4.    The AAA, applying its discretionary rules governing
                  filing fees, closes the cases given the nonpayment of the
                  outstanding fees by either party.

      Labaton paid the claimants’ portion of the filing fees. See RSA6-7.

Samsung paid the filing fees for the California residents’ claims given unique

obligations under California law. RSA7. But Samsung elected not to pay the

nonrefundable filing fees for the other claimants, which totaled more than

$4 million, because (i) the AAA Rules anticipate and address nonpayment in

multiple case filings and (ii) the demands were frivolous because they rested

on demonstrably false claims about how Samsung devices operate, like


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whether Samsung possesses or collects biometric data from the Gallery App

(an application storing photos and videos), see 5-SA1232—it does not. See 5-

SA1251-53; 5-SA1272-73. Samsung made clear, however, that it “will partic-

ipate” in arbitration should the claimants advance the unpaid fees,

consistent with the AAA Rules. 5-SA1253; 5-SA1272-73. Samsung also stood

ready to defend against the claims in court—where other counsel already

have filed a putative class action on identical issues. See G.T. v. Samsung

Electronics America, Inc., No. 1:21-cv-4976 (N.D. Ill.).

      Labaton responded just a day later, purportedly on behalf of each of

the 50,000 claimants. It “decline[d] Samsung’s invitation” and instead asked

the AAA to “issue an invoice to Samsung or, if the AAA believes Samsung’s

statement is sufficient regarding its refusal to pay the business fees,” to

“close the cases so Claimants can proceed to court.” Dist. Ct. Doc. 1-16, at 2.

      The AAA noted that Samsung invoked the AAA Rules and opted not

to pay the outstanding filing fees. See 5-SA1275. But the AAA did not order

or otherwise require Samsung to pay those fees. It instead recognized that the

claimants could advance “Samsung’s portion of the filing fees so that the

matters may proceed.” Id. While the AAA acknowledged that the claimants

had declined to advance the fees, it gave them one last opportunity to do

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so—i.e., to pursue arbitration. Id. Labaton again declined, instead asking the

AAA to stay the arbitrations while they sought an order from a federal court

compelling Samsung to arbitrate and pay the filing fees. See 5-SA1278. The

AAA rejected the stay request and exercised its discretion to close the 49,986

non-California claims, see RSA8-9, triggering the right of “either party” to

“submit its dispute to the appropriate court for resolution,” 5-SA1275.

            5.    Appellees move to compel arbitration, and the district
                  court compels arbitration and the payment of fees.

      a.    Labaton filed a joint petition and motion to compel arbitration

under 9 U.S.C. § 4 for Appellees. They asked the district court to order Sam-

sung to arbitrate and pay the filing fees. See 1-SA12-22; Dist. Ct. Doc. 2.

Mirroring their filings with the AAA, Appellees failed to provide the district

court with any evidence supporting the allegation that they each were a

Samsung device owner subject to a valid arbitration agreement with Sam-

sung. Labaton instead attached “a discrete list” with alleged personal

information for each claimant. RSA23; see 1-SA23–4SA-1160. And although

Labaton labeled the petition “verified,” 1-SA12, it was not. No Appellee

swore under penalty of perjury that the petition’s allegations (or its attach-

ments) were true. Appellees thus failed to convert anything in the petition



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into evidentiary material under Federal Rule of Civil Procedure 56. See James

v. Hale, 959 F.3d 307, 314 (7th Cir. 2020).

      Notably, other law firms subsequently filed a petition to compel arbi-

tration of the same claims against Samsung on behalf of hundreds of the

same petitioners. See Hoeg v. Samsung Electronics America, 1:23-cv-1951 (N.D.

Ill.). Samsung noted the issue before the district court here, explaining that

at least 241 of the 1,028 Hoeg petitioners (23%) were also Wallrich petitioners.

Dist. Ct. Doc. 40, at 3. Petitioner overlap also appears to be an issue in Allen

and 4,128 Other Individuals v. Motorola Mobility, LLC, 2023-CH-09116 (Ill. Cir.

Ct., Cook County), a case Labaton has just filed raising similar merits claims

on behalf of alleged users of Motorola phones—many of whom also (and

improbably) appear to be Appellees here claiming to use Samsung phones

(based on first- and last-name comparison of petitioner lists, 890 of the 4,130

Motorola petitioners (21.5%) appear to be Wallrich petitioners).

      Samsung argued, as relevant here, that (a) each Appellee failed to

carry their evidentiary burden of showing that they had a valid arbitration

agreement with Samsung; and (b) the district court cannot order Samsung

to pay the filing fees because the arbitration agreements commit that issue

to the AAA; the issue is a procedural matter for arbitral bodies, not courts,

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to decide; and the AAA did not require Samsung to pay the fees. See Dist.

Ct. Docs. 26-27.

      b.    After dismissing 14,335 petitioners’ claims for lack of venue, see

RSA14-19, the district court ordered Samsung to arbitrate the remaining

35,651 disputes and pay the filing fees, see RSA2, RSA36.

      As relevant here, the court first ruled that Appellees met their burden

of showing that they each had an arbitration agreement with Samsung. See

RSA22-24. The court did not cite any evidence supporting that ruling. It in-

stead accepted as true the petition’s unverified and unattested “word of over

30,000 individuals, some of whom may have been recruited to this action by

obscure social media ads.” RSA23. The court also relied on (i) the “discrete

list of named [claimants]” attached to the petition; (ii) the AAA’s determina-

tion that Appellees had met the administrative filing requirements; and

(iii) Samsung’s acknowledgement—in a different case involving different in-

dividuals—that real Samsung device owners who do in fact use their devices

are bound by an arbitration agreement. Id. Lastly, the court (mistakenly)

thought that “Samsung [had] a customer list” that it could use to determine

whether each Appellee was in fact bound by an arbitration agreement; for




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support, the court merely said that Samsung had previously “raised con-

cerns about specific names to the AAA.” Id.

      Proceeding to the merits, the district court concluded that Samsung

breached the arbitration agreements by invoking the AAA Rules and not

paying the filing fees. See RSA26-30. The court also ruled that it could order

Samsung to pay the filing fees, reasoning that fee disputes are “issues of

substantive arbitrability … for a court to decide,” not “issues of procedural

arbitrability” for an arbitrator to decide. RSA31. The court acknowledged

that its ruling on the fee issue is contrary to decisions from within and out-

side this Circuit, including the Fifth Circuit. See RSA32-33.

      c.    On September 26, 2023, soon after the district court compelled

arbitration, Labaton filed arbitration demands on behalf of 35,610 Appellees.

(For reasons unknown to Samsung, Labaton did not file arbitration demands

for the other 41 Appellees.) On October 5, 2023, Samsung sought a stay pend-

ing appeal in the district court, see Dist. Ct. Doc. 61, which the court denied

on October 18, 2023, see 9-SA2433. On October 25, 2023, Samsung moved this

Court to stay the order pending appeal and to expedite the appeal. Doc. 21.

The Court granted both requests on November 8, 2023, see Doc. 29.




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                          STANDARD OF REVIEW

      This Court reviews an order compelling arbitration, like a summary

judgment ruling, de novo, reviewing any factual findings (if making factual

findings is proper, but see infra pp. 39-41) for clear error. Lumbermens Mutual

Casualty Co. v. Broadspire Management Services, Inc., 623 F.3d 476, 480-81 (7th

Cir. 2010); Carroll, 698 F.3d at 563-64.

                        SUMMARY OF ARGUMENT

      I.    The district court erred in ruling—based on no evidence—that

Appellees had met their evidentiary burden to establish that they each had

a valid arbitration agreement with Samsung.

      A.    Whether the parties have agreed to arbitrate is an evidentiary

question under the FAA, 9 U.S.C. § 4, and this Court’s clear caselaw. The

burden of proffering evidence starts with the party seeking to compel arbi-

tration—here, Appellees—and shifts to the nonmoving party—i.e.,

Samsung—only after the moving party “puts forth evidence showing the ab-

sence of a genuine dispute of material fact.” Carroll, 698 F.3d at 564 (emphasis

added); see Kass, 75 F.4th at 703.

      B.    1.     Appellees failed to meet their evidentiary burden of show-

ing that they each agreed to arbitrate with Samsung. They did not submit


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any evidence. Instead, they rested on the bare allegations in the petition. Not

a single Appellee provided a sworn statement stating who they were and

what Samsung device they supposedly used. Given the burden of proof, no

court may blindly accept as true Appellees’ unsubstantiated allegations,

which are not evidence. But that is exactly what the district court did, see

RSA23, so this Court should reverse.

      2.    The district court gave several reasons for its evidence-free rul-

ing. Each fails. For example, because the AAA does not require claimants to

prove at filing that they are bound by an arbitration agreement, the AAA’s

determination that Appellees had met the administrative filing requirements

says nothing about whether the parties agreed to arbitrate. Additionally, the

district court erroneously believed that Samsung had an exhaustive list of

device owners that it could use to determine whether each Appellee had in

fact agreed to arbitrate. It does not. But whether that is true is irrelevant be-

cause, again, Appellees bore the initial burden of proof and they did nothing

to carry it. In other words, the district court excused Appellees from satisfy-

ing their burden and demanded that Samsung respond to a record devoid

of evidence. What is more, the district court cited nothing for its belief that

Samsung had a full list of device owners. And there is nothing to cite,

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because no such list exists. Individuals typically purchase Samsung devices

from third parties, like mobile carriers or retailers, and because device

owners are not required to register their devices with Samsung, Samsung

does not have a comprehensive list of every device owner.

      II.   The district court also erred in compelling arbitration and order-

ing Samsung to pay filing fees because administrative-fee issues are for the

arbitral body, not a court, to decide—as the arbitration agreements and

caselaw confirm. The AAA declined to require Samsung to pay the fees, in-

stead closing the arbitrations after giving claimants an opportunity to

advance the fees—an opportunity Labaton refused.

      A.    The arbitration agreements—assuming Appellees have shown

that they each agreed to arbitrate (and they have not)—expressly commit the

filing-fee issue to the AAA and no court may rewrite those terms. A court

reversibly errs when it rewrites an arbitration agreement. See Henry Schein,

139 S. Ct. at 529. Here, the alleged contracts provide that administrative fees

“shall be determined according to AAA rules.” 5-SA1162. The district court

rewrote those clear and unmistakable terms, ruling that it had the authority

to decide whether and when Samsung had to pay administrative fees. That

was error. The arbitration agreements pick the rules governing

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administrative fees—contractually choosing the AAA Rules, not judge-

made rules—and those Rules give the AAA full discretion over every aspect

of administrative fees. No court may “override” that bargained-for commit-

ment of administrative-fee issues to the AAA. Henry Schein, 139 S. Ct. at 529.

      B.    The AAA did not decide that Samsung was required to pay fees.

It instead closed the cases and let them proceed on the merits in court given

the nonpayment by either party. Specifically, the AAA decided (a) not to or-

der or require Samsung to pay the filing fees; (b) to give Appellees the option

to advance the unpaid fees; and (c) to close the cases, rather than stay them,

thus triggering the right of either party to sue in the appropriate court for

resolution. Under the plain language of the AAA Rules incorporated into the

contracts, the AAA acted “well within [its] discretion” in reaching that con-

clusion, and the district court was required to respect it. Lifescan, Inc. v.

Premier Diabetic Services, Inc., 363 F.3d 1010, 1013 (9th Cir. 2004). In ruling

that Samsung had to pay fees, the district court ignored the AAA’s discre-

tionary decision. That was error because no court may second-guess an

arbitral determination when it is the arbitral body’s decisionmaking that the

parties “bargained for.” Oxford Health Plans, 569 U.S. at 569.




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      C.     Even if the contracts were silent on the administrative-fee issue,

the district court’s ruling that it could decide the fee question would still be

incorrect, because administrative fees are core procedural matters for arbi-

tral bodies and arbitrators to decide, as the Fifth Circuit and other courts

have held.

      1.     When a contract is silent, courts presume that “procedural”

questions are for arbitral bodies and “substantive” questions are for courts.

Lumbermens, 623 F.3d at 480-81. Procedural arbitrability questions include

“the satisfaction of prerequisites such as time limits, notice, laches, estoppel,

and other conditions precedent to an obligation to arbitrate.” BG Group, PLC

v. Republic of Argentina, 572 U.S. 25, 35 (2014) (quotation marks omitted).

Substantive arbitrability questions, by contrast, tend to concern “whether

there is a contractual duty to arbitrate at all.” Id.; see id. at 34.

      2.     Administrative fees are conditions precedent to arbitration,

meaning they are committed to arbitral bodies, not courts. Such fees present

issues that must be addressed before the arbitral proceedings begin or pro-

ceed. They are thus “conditions precedent to an obligation to arbitrate,”

which courts may not address. BG Group, 572 U.S. at 35. Here, that means




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only the AAA may decide the fee issue, like whether the parties owe them

and, if so, how much is owed and when payment is due.

      Appellate courts agree on this issue. In Dealer Computer Services, which

likewise involved AAA rules, the Fifth Circuit broadly held that “[p]ayment

of fees is a procedural condition precedent that the trial court should not

review.” 588 F.3d at 887. This Court has cited Dealer Computer Services with

approval, specifically its holding that administrative fees are procedural

matters for arbitral bodies to decide. See Lumbermens, 623 F.3d at 482. The

Third Circuit has similarly recognized, specifically with respect to the AAA,

that administrative arbitral fees are “basic procedural issues that … ‘the par-

ties would likely expect the arbitrator to decide.’” Chesapeake Appalachia, LLC

v. Scout Petroleum, LLC, 809 F.3d 746, 762 (3d Cir. 2016).

      3.    These principles make clear that fee issues would be for the AAA

even if the arbitration agreements did not say so. Because the AAA did not

require Samsung to pay fees and instead closed the arbitrations after Laba-

ton refused to advance payment, the district court had no power to compel

arbitration and payment of fees.

      D.    The district court’s reasons for deciding the fee issue and Appel-

lees’ likely counterarguments lack merit.

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      1.      The district court wrongly concluded that it could decide

whether Samsung must pay fees despite recognizing (as Samsung argued)

that the contracts incorporated rules committing fee issues to the AAA. The

court simply asserted, without grappling with the AAA Rules’ language,

that it could decide the issue itself.

      2.      The district court concluded, and Appellees contend, that the

AAA required Samsung to pay the fees, so the district court was just enforc-

ing that judgment. That is incorrect. The AAA exercised its discretion by

deciding (a) not to order or otherwise require Samsung to pay the filing fees;

(b) to give Appellees the option to advance the unpaid fees if they really

wanted to arbitrate; and (c) to close the cases, triggering the right of either

party to submit the underlying merits dispute to the appropriate court for

resolution.

      3.      The district court and Appellees treat the contracts as uncondi-

tional agreements to arbitrate. That is wrong. The agreements make clear

that arbitration must proceed pursuant to the AAA Rules, which can put the

parties back in court if the fees go unpaid. That is precisely how the AAA

interpreted and applied the AAA Rules. Appellees may dislike how the




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AAA exercised its discretion. But as Dealer Computer Services explained, their

“remedy lies with the [AAA],” not the courts. 588 at 888.

      4.    The district court concluded that Samsung’s position created “a

Catch 22” leaving Appellees nowhere to pursue their claims. 9-SA2432. That,

too, is wrong. The result the parties got is the one they bargained for: Laba-

ton failed to advance the fees for Appellees when given the opportunity, and

the AAA sent them back to court, where they can pursue their claims (as

other individuals are currently doing in another lawsuit).

      5.    The district court’s ruling—that administrative fees are substan-

tive matters for courts to decide—is wrong and incompatible with Dealer

Computer Services, Lumbermens, and Chesapeake Appalachia.

      First, the district court incorrectly reasoned that administrative fees

must be substantive given their role in arbitration. The court itself recog-

nized that administrative fees “start” the arbitration process and that

arbitration was “conditioned on the payment of the AAA’s assessed fees.”

RSA27, RSA35. Those are hallmark characteristics of “a procedural condition

precedent to arbitration”—determining “when the contractual duty to arbi-

trate arises, not whether there is [one].” BG Group, 572 U.S. at 35.




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      Second, the district court overlooked the fact that the AAA has total

discretion over administrative fees, including whether, when, and how

much fees are due. This discretion highlights a critical flaw in the court’s

logic. If administrative fees are substantive, as the court stated, then the AAA

should not decide them. Lumbermens, 623 F.3d at 481. But the district court’s

reasoning produces the “strange” outcome of dividing the same issue (ad-

ministrative arbitral fees) “between the court and the arbitrator,” id., because

the court did not suggest that it would determine the amount due (clearly a

procedural question for the AAA). The court offered no reason to treat the

timing of fees as substantive and their amount as procedural.

      Lastly, the district court’s reasons for departing from established

caselaw fail. Dealer Computer Services did not turn on liquidity to pay or chap-

ter headings in AAA rules. The district court suggested no reason this Court

should not follow the Fifth Circuit.

                                ARGUMENT

I.    Appellees failed to meet their evidentiary burden of showing that
      they had a valid arbitration agreement with Samsung.

      Appellees bore the burden of showing that they each had a valid

arbitration agreement with Samsung. But they submitted no evidence. The



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district court nevertheless found a valid arbitration agreement between Sam-

sung and every Appellee. That ruling cannot stand.

      A.    The party seeking to compel arbitration has the initial burden
            of showing, with evidence, that the parties agreed to arbitrate.

      To compel arbitration, a court must find “an agreement to arbitrate,”

Zurich American Insurance Co. v. Watts Industries, Inc., 466 F.3d 577, 580 (7th

Cir. 2006), and “the party seeking to compel arbitration … ha[s] the burden

of showing” that the parties have in fact agreed to arbitrate, A.D. v. Credit

One Bank, N.A., 885 F.3d 1054, 1063 (7th Cir. 2018). That is because whether

the parties agreed to arbitrate is a question of fact, meaning that if there is a

material dispute, the question is for a jury. See 9 U.S.C. § 4. Accordingly, pre-

trial disputes about the existence of an arbitration agreement are governed

by the same standard governing summary judgment. Tinder v. Pinkerton Se-

curity, 305 F.3d 728, 735 (7th Cir. 2002). Thus, the party seeking to compel

arbitration—here, Appellees—must identify “sufficient evidence” that the

parties agreed to arbitrate. Fisher v. University of Texas at Austin, 570 U.S. 297,

314 (2013) (summary judgment); Kass, 75 F.4th at 703 (arbitration). In as-

sessing that showing, a court must draw all “reasonable inferences” from

“the evidence” “in favor of the nonmoving party”—here, Samsung. Tolan v.



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Cotton, 572 U.S. 650, 660 (2014) (summary judgment); see also Kass, 75 F.4th

at 700 (arbitration).

      Just as in summary judgment proceedings, the party moving to compel

arbitration bears the initial burden of proof: “Once the moving party puts

forth evidence showing the absence of a genuine dispute of material fact, the

burden shifts to the non-moving party to provide evidence of specific facts

creating a genuine dispute.” Carroll, 698 F.3d at 564 (emphases added); see

also Scott v. Harris, 550 U.S. 372, 380 (2007) (recognizing that the moving

party carries the initial burden of proof under Federal Rule of Civil Proce-

dure 56); Scherer v. Rockwell International Corp., 975 F.2d 356, 360 (7th Cir.

1992) (same). Whether the parties are bound by a valid arbitration agreement

is thus an evidentiary question—the burden of proffering evidence starts with

the party seeking to compel arbitration and shifts to the nonmoving party

only after the moving party carries its evidentiary burden.

      This well-established order of operations is critical because it puts in

context the statement that “a party cannot avoid compelled arbitration by

generally denying the facts upon which the right to arbitration rests.” Tinder,

305 F.3d at 735. The moving party does not trigger that second-level




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standard unless it “puts forth evidence showing the absence of a genuine dis-

pute of material fact.” Carroll, 698 F.3d at 564 (emphasis added).

      B.    Appellees failed to carry their evidentiary burden, and the
            district court’s evidence-free ruling is wrong.

            1.      The district court erred in compelling arbitration
                    because Appellees offered no evidence that they agreed
                    to arbitrate with Samsung.

      Appellees put forth no evidence—no affidavit, declaration, or other

proof—showing that each of them is a Samsung device owner bound by an

arbitration agreement with Samsung. Because Appellees failed entirely to

carry their evidentiary burden, the district court erred in finding, based on

no evidence, “a valid agreement to arbitrate.” RSA24. The court thus erred

in compelling arbitration and ordering Samsung to pay fees.

            2.      The district court’s reasoning, which failed to apply the
                    clear evidentiary standard, is incorrect.

      The district court gave several reasons for its evidence-free finding.

Each lacks merit.

      a.    The district court thought that it “must accept” the unverified

and unattested “word of over 30,000 individuals.” RSA23. But a motion to

compel arbitration is akin to a motion for summary judgment, not a motion

to dismiss. Tinder, 305 F.3d at 735. The court therefore erred in accepting


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Appellees’ allegations as true, cf. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),

rather than determining whether Appellees proffered “sufficient evidence”

to support those allegations, Fisher, 570 U.S. at 314; see Kass, 75 F.4th at 703.

And allegations are all that Appellees have. Appellees’ counsel labeled the

petition “verified,” 1-SA12, but no Appellee swore under penalty of perjury

that the petition’s allegations or its attachments were true. That is unsurpris-

ing given that some claimants, like “Full Chck,” see 5-SA1266, are likely

fictitious (showing that Labaton did not investigate its allegations), and oth-

ers (possibly without their knowledge) were simultaneously being

represented by other counsel in Hoeg, a separate action seeking to compel

arbitration against Samsung on the same underlying claims. Supra p. 27. Ap-

pellees thus failed to convert the petition and its attachments into evidence.

See James, 959 F.3d at 314.

      The district court also relied on “a discrete list of named [claimants],”

RSA23, attached to the petition, see 1-SA23. But that list is not evidence be-

cause, again, no Appellee swore under penalty of perjury that they are a real

person with a Samsung device and a valid arbitration agreement. See James,

959 F.3d at 314. And the list could not carry Appellees’ burden even if it were

evidence, because it simply contains each claimant’s purported personal

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information (i.e., name and city of residence). Information about one’s iden-

tity is not evidence that one agreed to arbitrate, much less with Samsung

about a particular device.

      b.    The district court also relied on the AAA’s determination that

Appellees had met the administrative filing requirements. RSA23. But as ex-

plained, supra p. 24, the AAA’s filing-requirement determination says

nothing about whether the parties agreed to arbitrate, because the AAA does

not require claimants to establish at filing that they are bound by an arbitra-

tion agreement. It instead requires claimants to simply attach an arbitration

agreement to their demand without proof that they are bound by it. See, e.g.,

Chase Bank USA, 2011 WL 529487, at *2 n.2 (explaining that the AAA’s filing-

requirement determination says nothing about “whether a valid arbitration

agreement existed between the parties”). What is more, the question

whether the parties agreed to arbitrate at all is a question for the court (and,

if necessary, a jury), not the arbitrator. 9 U.S.C. § 4; see Granite Rock Co. v.

International Brotherhood of Teamsters, 561 U.S. 287, 297 (2010).

      c.    The district court relied on Samsung’s acknowledgement—in a

different case involving different individuals—that an owner of a particular

Samsung device is bound by an arbitration agreement. RSA23. The alleged

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Samsung device owner in a different case has nothing to do with the alleged

Samsung device owners in this case. Moreover, the fundamental problem

with the district court’s reliance on this assertion is that it assumes the an-

swer to the evidentiary question whether each Appellee is a Samsung device

owner. Again, Appellees have not submitted any evidence that each one of

them owns a Samsung device. Arguing that device owners are subject to ar-

bitration agreements does not establish that Appellees are device owners.

      d.    The district court thought that “Samsung [had] a customer list”

that it could use to determine whether each Appellee was bound by an arbi-

tration agreement. To support that notion, the court said that Samsung had

previously “raised concerns about specific names to the AAA.” RSA23. That

was error for three reasons.

      First, whether Samsung had a complete device-owner list is irrelevant

because Appellees bore the initial burden of proof, which they did not carry.

The district court prematurely (and wrongly) shifted the evidentiary burden

to Samsung.

      Second, Samsung did not raise concerns about specific claimants to the

AAA. It instead flagged several issues that plagued the arbitration demands.

See 5-SA1252. And there were several. Just to name a few, Labaton submitted

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(a) duplicate claims for the same claimants, (b) claims on behalf of fictitious

or deceased individuals, and (c) claims on behalf of individuals already rep-

resented by other counsel. See supra pp. 22-23.

      Third, Samsung does not have a comprehensive “customer list.”

RSA23. Individuals typically buy Samsung devices from third parties, like

mobile carriers or retailers. Because Samsung device owners are not required

to register their devices, Samsung does not have a list of every device owner.

The district court cited nothing supporting its contrary finding. If the court

relied on Samsung’s identification of issues plaguing the arbitration de-

mands to conclude that Samsung had a comprehensive customer list, the

court’s error is readily explained: Samsung identified those issues by sam-

pling the information that Appellees submitted to the AAA. See 5-SA1251. And

if the court relied on Appellees’ observation that Samsung device owners

who register their devices provide Samsung with their personal information

(e.g., name, email, zip code, and date of birth, see Dist. Ct. Doc. 36, at 9 & n.4),

the problem is likewise evident: not every owner registers their device.

      In sum, established caselaw shows that Appellees bore the burden of

submitting evidence showing that they each had a valid arbitration agree-

ment with Samsung. Because they submitted no such evidence, the district

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court’s evidentiary ruling is wrong. To make matters worse, by compelling

arbitration without evidence of valid arbitration agreements, the district

court in effect “devise[d] [a] novel rule[] to favor arbitration over litiga-

tion”—something it clearly cannot do. Morgan, 596 U.S. at 418.

II.   The district court erred in compelling arbitration and payment of
      fees because arbitral-fee issues are for the arbitral body, not a court,
      to decide—as the arbitration agreements and caselaw confirm.

      The district court erred in resolving the fee dispute for three reasons.

First, the arbitration agreements expressly commit administrative-fee issues

to the AAA and no court may rewrite the contracts. (Again, Appellees have

offered no evidence that they have arbitration agreements.) Second, the AAA,

applying its own rules, decided that Samsung was not required to pay fees

and closed the cases given the nonpayment by either party. The district court

was required to respect that determination. Third, even if the contracts were

silent on the fee issue, administrative fees are quintessential “procedural”

matters for arbitral bodies, not courts, to decide, as caselaw from the Fifth

Circuit and other courts makes clear. Each counterargument offered by the

district court or Appellees fails.




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      A.    The arbitration agreements expressly commit the fee issue to
            the AAA and no court may rewrite the contracts.

      A court may not rewrite an arbitration agreement. Here, the district

court ruled that it could compel Samsung to pay filing fees. See RSA30-36.

That ruling rewrites the (alleged) arbitration agreements, which provide that

administrative filing fees “shall be determined according to AAA rules.” 5-

SA1162. The Court should reverse.

            1.    Courts must enforce arbitration agreements according to
                  their terms.

      “Where ordinary contracts are at issue, it is up to the parties to deter-

mine whether a particular matter is primarily for arbitrators or for courts to

decide.” BG Group, 572 U.S. at 33-34. Thus, consistent with the equal-footing

principle, supra pp. 16-17, courts must enforce every provision delegating an

issue to an arbitral body according to its terms. See Henry Schein, 139 S. Ct. at

528-29; Lamps Plus, 139 S. Ct. at 1415-16. “[A] court possesses no power” to

“override the contract” and decide an issue that the parties expressly dele-

gated to an arbitral body. Henry Schein, 139 S. Ct. at 529.

            2.    The district court rewrote the arbitration agreements’
                  terms.

      By ordering Samsung to pay administrative filing fees, the Court re-

wrote the arbitration agreements, violating one of the most fundamental

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principles governing arbitration under the FAA. (Solely for purposes of this

appeal, Samsung assumes that, if Appellees have arbitration agreements

with Samsung, but see supra pp. 38-46, the agreements are those attached to

Appellees’ petition. See, e.g., 5-SA1161-63.)

      The arbitration agreements provide: “Administrative, facility and arbi-

trator fees for arbitrations in which your total damage claims, exclusive of

attorney fees and expert witness fees, exceed $5,000.00 (‘Large Claim’) shall

be determined according to AAA rules.” 5-SA1162 (emphases added). “Admin-

istrative fees” include “filing fees.” See 5-SA1198; see also 5-SA1192, 5-

SA1202. And each Appellee sought “at least $15,000” in “statutory dam-

ages.” 5-SA1246. Under the contracts’ plain terms, the parties expressly

committed administrative-fee issues to the AAA (again, assuming that each

Appellee has a valid arbitration agreement with Samsung). Thus, the AAA

“shall” decide whether the parties owe administrative fees and, if so, how

much they owe and when payment is due. 5-SA1162.

      The district court rewrote these “clear and unmistakable” terms, Henry

Schein, 139 S. Ct. at 530, giving itself the authority to determine whether and

when Samsung must pay administrative filing fees. See RSA30-36. That was

error. The parties specified “the rules” governing administrative fees, Lamps

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Plus, 139 S. Ct. at 1416—the AAA Rules, not judge-made rules. “The parties

thus incorporated the AAA Rules into their agreement.” Lifescan, 363 F.3d at

1012. And the AAA Rules give the AAA full discretion over every aspect of

administrative fees. Supra pp. 20-21; see also Lifescan, 363 F.3d at 1012 (AAA

Rules “give[] arbitrators broad discretion to allocate fees and expenses

among the parties.”). No court may “override” the parties’ agreement to

commit administrative-fee issues (and discretion over such issues) to the

AAA, Henry Schein, 139 S. Ct. at 529, because the FAA “rigorously” and “ab-

solutely” protects bargained-for terms of arbitration, Epic Systems Corp. v.

Lewis, 138 S. Ct. 1612, 1621 (2018), and courts must remain “[f]aithful to the

statute,” Lifescan, 363 F.3d at 1012. The district court rewrote the contracts, in

violation of established Supreme Court precedent. And, as explained below,

the district court’s resolution of the question committed to the AAA was the

exact opposite of the AAA’s resolution of that question.

      B.    The AAA decided that Samsung was not required to pay fees,
            and the district court was required to respect that
            determination because that issue was committed to the AAA.

      The AAA acted well within its authority when it decided not to order

Samsung to pay the administrative fees. As explained, the contracts commit-

ted that authority to the AAA, supra pp. 47-49; as discussed below, so do


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background arbitration principles, infra pp. 53-57. By ordering Samsung to

pay those fees, the district court usurped the AAA’s authority and overrode

its decision.

            1.    Precedent makes clear that courts must respect the
                  AAA’s fee determinations under its rules.

      Just as courts “may not override” contractual terms committing issues

to an arbitral body, Henry Schein, 139 S. Ct. at 529, “courts have no business

overruling” an arbitral determination when it is the arbitral body’s deci-

sionmaking that the parties “bargained for” and the arbitral body acted

within “the scope of [its] contractually delegated authority,” Oxford Health

Plans, 569 U.S. at 569, 573.

      The Ninth Circuit’s decision in Lifescan is instructive. Lifescan refused

to second-guess the AAA’s determination to “suspend[] the proceedings”

given the nonpayment of fees by either party, because the parties agreed to

“leave” “the apportionment of fees” “up to the arbitrators,” which acted

“well within their discretion” expressly vested in them by the AAA’s rules.

363 F.3d at 1011, 1013. The arbitration agreement at issue in Lifescan, like the

agreements here, “incorporate[d] the rules of the AAA, which … cover[ed]

the apportionment of fees” and gave the AAA “discretion” and “flexibility”



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to determine whether, when, and how much fees are due. Id. at 1013. Indeed,

as the Ninth Circuit observed, “the AAA may require a deposit as it deems

necessary.” Id. at 1012. That is precisely what the AAA did. It invoiced each

party for administrative fees, but one party “could not afford to pay.” Id.

Accordingly, and consistent with its rules, the AAA exercised its discretion

“by allowing the arbitration to proceed on the condition that [the other

party] advance the remaining fees.” Id. at 1012-13. The other party “refused,”

so the AAA “suspended the proceedings.” Id. at 1011. Lifescan honored that

discretionary decision, ordering the district court to “dismiss the petition,”

because the arbitration “proceeded pursuant to the parties’ agreement and

the rules they incorporated.” Id. at 1013.

            2.    The district court erred in compelling arbitration and
                  payment of fees because the parties committed
                  administrative-fee issues to the AAA, and the AAA
                  declined to order payment and closed the cases.

      As in Lifescan, the parties committed administrative-fee issues to the

AAA (assuming each Appellee is bound by an arbitration agreement), and

the AAA acted well within its discretion by deciding (a) not to order or oth-

erwise require Samsung to pay the filing fees; (b) to give Appellees the

option to advance the unpaid fees; and (c) to close the cases, rather than stay



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them, thus triggering the right of either party to sue in the appropriate court

for resolution, supra pp. 25-26. (Again, as the district court recognized, a pu-

tative class of Samsung device owners is currently litigating claims similar

to Appellees’. See RSA18 (referencing G.T., No. 1:21-cv-4976 (N.D. Ill.)).)

      By ruling that Samsung had to pay AAA filing fees—a decision that the

AAA did not make—the district court ignored the AAA’s interpretation and

application of its own rules. In other words, it improperly second-guessed

the AAA’s discretion, which is vested in it by the arbitration agreements,

supra pp. 47-49, and background principles committing administrative fees

to arbitral bodies, infra pp. 53-57. Again, the arbitration agreements “leave”

administrative-fee issues “up to” the AAA, Lifescan, 363 F.3d at 1013, and the

AAA Rules give the AAA discretion over every aspect of administrative fees,

including whether to “apply [the] fee schedule to a particular case,” 5-

SA1198. The AAA exercised its discretion, administering Appellees’ arbitra-

tion demands “pursuant to the parties’ agreement and the rules they

incorporated.” Lifescan, 363 F.3d at 1013. Because that discretion is precisely

what the parties “bargained for,” no court may second-guess it. Oxford

Health Plans, 569 U.S. at 569, 573.




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      C.    Fee disputes are procedural matters for arbitral bodies to
            decide even when the contract does not expressly say so.

      Even if the (alleged) arbitration agreements were silent on the fee is-

sue, the district court’s conclusion that it could order Samsung to pay filing

fees would still be incorrect. Well-reasoned caselaw shows that administra-

tive fees are procedural matters for arbitral bodies to decide, not substantive

matters for courts to decide.

            1.    When a contract is silent on the issue, courts presume
                  that a procedural condition precedent is for the
                  arbitrator, not the court.

      When a contract does not specify “whether a particular matter is pri-

marily for arbitrators or for courts to decide,” “courts presume that the

parties intend arbitrators, not courts, to decide disputes about the meaning

and application of particular procedural preconditions for the use of arbitra-

tion.” BG Group, 572 U.S. at 33-35. Put differently, “procedural” arbitrability

questions are presumptively for arbitrators, and “substantive” arbitrability

questions are presumptively for courts. Lumbermans, 623 F.3d at 480-81.

      Procedural arbitrability questions come in many forms. They “include

claims of ‘waiver, delay, or a like defense to arbitrability,’” as well as “the

satisfaction of prerequisites such as time limits, notice, laches, estoppel, and



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other conditions precedent to an obligation to arbitrate.” BG Group, 572 U.S.

at 35 (quotation marks omitted). For example, this Court has “held that the

question of whether an arbitration agreement forbade consolidated arbitra-

tion was a procedural one for the arbitrator to answer.” Lumbermans, 623 F.3d

at 481. Substantive arbitrability questions, on the other hand, tend to concern

“whether there is a contractual duty to arbitrate at all.” BG Group, 572 U.S. at

35; see also id. at 34. For instance, a “court should decide whether an arbitra-

tion clause applied to a party who ‘had not personally signed’ the document

containing it.” Id. at 34.

             2.    Administrative-fee issues are procedural questions for
                   arbitrators, not courts.

      Administrative fees, like filing fees, are conditions precedent to arbi-

tration, meaning they are presumptively committed to arbitral bodies, not

courts. Such fees present issues that must be addressed before for the arbitral

proceedings begin or continue. Administrative fees are thus “conditions

precedent to an obligation to arbitrate.” Id. at 35. They are “procedural gate-

way matters” that courts have no authority to address. Id. at 34-35 (emphasis

omitted). Here, that means only the AAA may decide whether the parties




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owe administrative fees and, if so, how much they owe and when payment

is due.

      Courts within and outside this Circuit agree—administrative fees are

conditions precedent to arbitration and thus fall into the “procedural”

bucket of issues that must be decided by arbitral bodies, not courts. See Dealer

Computer Services, 588 F.3d at 887-88; McClenon v. Postmates Inc., 473

F. Supp. 3d 803, 812 (N.D. Ill. 2020); Croasmun v. Adtalem Global Education,

Inc., No. 20-cv-1411, 2020 WL 7027726, at *4 (N.D. Ill. Nov. 30, 2020); Adams

v. Postmates, Inc., 414 F. Supp. 3d 1246, 1255 (N.D. Cal. 2019); cf. Logan v. Zim-

merman Brush Co., 455 U.S. 422, 437 (1982) (describing litigation “filing fees”

as “procedural requirements”).

      Take the Fifth Circuit’s decision in Dealer Computer Services, which also

involved the AAA. 588 F.3d at 888-89. The Fifth Circuit held that the trial

court erred in ordering a party “to pay its share of the deposit” for the arbi-

tration. Id. at 885. The court underscored that “[p]ayment of fees is a

procedural condition precedent that the trial court should not review.” Id. at

887. That is because, the court explained, the AAA has full “discretion” with

respect to administrative fees—not only may it direct one party to advance

the other party’s fees, it also may decide whether to proceed with arbitration

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or suspend the arbitration absent full payment. See id. at 887-88. Payment of

administrative fees thus “determines when the contractual duty to arbitrate

arises, not whether there is [one].” BG Group, 572 U.S. at 35.

      This Court has cited Dealer Computer Services with approval. In Lum-

bermens, the question was whether a party had met a precondition to

arbitration, specifically whether it had sufficiently notified the other party

about its grievances. 623 F.3d at 477. That issue was “procedural,” the court

held, because it was “a condition precedent to arbitration,” meaning no court

had authority to resolve it. Id. at 481. To support that holding, Lumbermens

twice cited Dealer Computer Services. See id. at 482-83. As Lumbermens put it,

Dealer Computer Services stands for the notion that “payment of fees is [a]

question of procedural condition precedent to arbitration that is for [an] ar-

bitrator, not a court, to decide.” Id. at 482 (parenthetically describing Dealer

Computer Services, 588 F.3d at 887).

      The Third Circuit’s decision in Chesapeake Appalachia also aligns with

Dealer Computer Services. Chesapeake Appalachia involved the AAA and deter-

mined that the arbitral body’s rules “do not mention either class arbitration

or the question of class arbitrability.” 809 F.3d at 762. In reaching that con-

clusion, the court explained how the AAA rules “address various procedural

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matters,” including “the administrative filing fee” and similar requirements

Id. (emphasis added). Such preconditions to arbitration, the court said, are

“basic procedural issues that … ‘the parties would likely expect the arbitra-

tor to decide.’” Id.

            3.     Even if the contracts were silent, the district court erred
                   in compelling arbitration and payment of fees, because
                   the AAA was still authorized to determine that
                   Samsung need not pay fees.

      Basic arbitration principles make clear that fee issues are for the AAA

to decide even if the contracts did not expressly commit them to the AAA

(though the contracts do exactly that, supra pp. 47-49). And because the AAA

did not require Samsung to pay fees and instead closed the arbitrations after

Labaton refused to pay, the district court had no power to compel arbitration

and payment of fees. Supra pp. 49-52.

      D.    The district court’s reasons for deciding the fee issue lack
            merit, as do Appellees’ likely counterarguments.

      The district court’s reasons for ignoring both the contracts and back-

ground law’s commitment of fee issues to the AAA fail. Appellees

counterarguments likewise lack merit.




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           1.    The district court wrongly concluded that it could
                 decide whether Samsung must pay fees.

     The district court acknowledged Samsung’s argument that because the

AAA Rules are incorporated into the contracts, “the AAA enjoys sole au-

thority to determine” fee issues. RSA30. But it then proceeded to ignore the

language of the AAA Rules. Instead, it concluded that because “the parties

disagree that they are bound by the Arbitration Agreement to pay the filing

fee,” the court had to decide that issue. RSA31. That was error. As explained

(at 47-49, 53-57), both the AAA Rules incorporated into the contracts and

background arbitration principles committed that question to the AAA.

           2.    The district court wrongly concluded, and Appellees
                 wrongly argue, that the AAA required Samsung to pay
                 the filing fees.

     The district court concluded that the AAA ordered Samsung to pay the

filing fees, RSA27-28, and Appellees have likewise argued that the AAA or-

dered or otherwise required Samsung to pay the filing fees, such that the

district court simply gave effect to the AAA’s judgment. See Doc. 24, at 11,

14. The court’s and Appellees’ reasoning ignores what the AAA actually did.

     The AAA invoiced each party for administrative fees. See 5-SA1248 (in-

voice to Appellees); 5-SA1268 (letter invoice to Samsung). In the invoice to



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Samsung, the AAA said only that “Samsung is now responsible for payment

of the initial administrative filing fees.” 5-SA1269. Samsung then informed

the AAA that it would pay the fees for the California residents’ claims, and

that “[p]ursuant to the AAA Rules and procedures, [it] respectfully declines

to pay filing fees” for the non-California claimants. 5-SA1273. The AAA

acknowledged that Samsung invoked the AAA Rules and “decline[d] to sub-

mit [its] portion of the filing fees” for the non-California-residents’ claims.

See 5-SA1275. But as explained, the AAA did not order or otherwise require

Samsung to pay those filing fees. It instead recognized that the claimants

could advance “Samsung’s portion of the filing fees so that the matters may

proceed.” Id. The claimants refused to advance the fees and proceed with

arbitration, asking instead for the AAA to stay the proceedings while they

petitioned a federal court to order Samsung to arbitrate and pay the fees. See

5-SA1278. The AAA, in response, closed the claims given the nonpayment

by either party, see RSA8-9, triggering the right of “either party” to “submit

its dispute to the appropriate court for resolution,” 5-SA1275.

      In short, the AAA administered Appellees’ arbitration demands pur-

suant to the AAA Rules, which the arbitration agreements expressly

incorporate, without requiring Samsung to pay the filing fees. Supra pp. 49-

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52. The AAA exercised its delegated discretion by deciding (a) not to order

or otherwise require Samsung to pay the fees; (b) to give Appellees the op-

tion to advance the unpaid fees if they wanted to arbitrate; and (c) to close

the cases, triggering the right of either party to submit its dispute to the ap-

propriate court for resolution.

      The AAA’s denial of Appellees’ request to stay the arbitral proceed-

ings pending resolution of their petition in federal court confirms that the

AAA did not order or otherwise require Samsung to pay filing fees. If, as

Appellees claim, the AAA thought that it had ordered or demanded Sam-

sung to pay the fees, then presumably the AAA would have stayed the

proceedings rather than close them; that would have been the most logical

and efficient solution. Also, the AAA presumably would have indicated,

consistent with the AAA Rules, that it would “decline to administer future

consumer arbitrations with [Samsung].” 5-SA1197. But the AAA did none of

those things. There is thus no basis for concluding that the district court, by

ordering Samsung to pay the filing fees, simply gave effect to a prior AAA

decision.




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            3.    The district court’s reasoning and Appellees’ arguments
                  wrongly treat arbitration agreements as unconditional,
                  when the parties bargained for arbitration under the
                  AAA Rules.

      The district court’s reasoning and Appellees’ arguments both rest on

the notion that the parties entered into unconditional agreements to arbi-

trate. In the district court’s words, for example, “[t]he fees are bound up in

the right to arbitrate.” RSA35. That view is mistaken.

      The arbitration agreements make clear that the parties agreed to arbi-

trate pursuant to the AAA Rules, which can put the parties back in court if the

fees go unpaid. That is precisely how the AAA interpreted and applied the

AAA Rules. Supra pp. 49-52. Appellees may dislike how the AAA exercised

its discretion. But as Dealer Computer Services explained, their “remedy lies

with the [AAA],” not the courts. 588 F.3d at 888. The parties got what they

bargained for—an avenue to arbitrate their claims pursuant to the AAA

Rules, which give the AAA full discretion over administrative filing fees—

and no court may second-guess whether the AAA reasonably exercised that

discretion. Cf. Lifescan, 363 F.3d at 1011-13. Because the AAA “is entitled to

follow its own view about the meaning of [the AAA Rules],” given its full

discretion over the Rules, “it need not knuckle under to the district [court’s]”



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contrary and unauthorized understanding. Trustmark Insurance Co. v. John

Hancock Life Insurance Co. (U.S.A.), 631 F.3d 869, 874-75 (7th Cir. 2011). That

is especially true given that the courthouse doors remain open whenever

fees go unpaid and where the AAA, as a result of the nonpayment by either

party, chooses not to proceed. See 5-SA1174.

            4.    The district court wrongly thought that respecting the
                  AAA’s position creates a Catch-22.

      In denying a stay pending appeal, the district court reasoned that not

requiring Samsung to pay the filing fees “set[s] up a Catch 22” by allowing

Samsung to require arbitration but stymie the arbitrator’s ability to do so by

not paying the filing fees. 9-SA2432. The flaws in that reasoning are twofold.

First, the AAA did decide the fee issue—claimants could advance the fees, or

the arbitrations would be closed. That was the result the parties bargained

for by incorporating the AAA Rules, which give the AAA discretion to make

exactly that determination in a mass arbitration. Supra pp. 49-52. Second, the

court’s reasoning suggests that Appellees and other parties will be unable to

pursue their claims on the merits. But that is false. Under the AAA’s deci-

sion, Appellees can pursue their claims in court. The reason they are not is

that Labaton cannot shake Samsung down in federal court, where it cannot



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trigger many millions of dollars in recurring, nonrefundable fees with no

connection to the merits of the case.

             5.     The district court erred in ruling that, absent agreement,
                    administrative fees are substantive matters for courts to
                    decide, rather than procedural matters for arbitral
                    bodies to decide.

      Absent an agreement on the matter, fee disputes are procedural mat-

ters for arbitral bodies to decide. Supra pp. 53-57. The district court’s contrary

ruling is wrong, both doctrinally and conceptually, and its attempt to distin-

guish the Fifth Circuit’s decision in Dealer Computer Services based on a

supposed minor factual difference fails. This Court should join the Fifth Cir-

cuit, not create a circuit split.

      a.     The district court wrongly reasoned that administrative fees

must be substantive given their role in arbitration: “Money is the means of

dispute resolution, and the way to start this process.” RSA35. The court’s

recognition that administrative fees start the arbitration process confirms

that they are “a procedural condition precedent to arbitration.” BG Group,

572 U.S. at 35. Indeed, the court elsewhere recognized that “[a]rbitration was

conditioned on the payment of the AAA’s assessed fees.” RSA27 (emphasis

added). Under the district court’s own logic, administrative fees determine



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“when the arbitration may begin, … not whether it may occur or what its

substantive outcome will be on the issues in dispute.” BG Group, 572 U.S. at

35-36. Administrative fees are therefore “procedural.” Id. at 35.

      The fact that administrative fees may be necessary for arbitration does

not change anything. That is because courts presume that parties to “an ar-

bitration agreement implicitly authorize the arbitrator to adopt such

procedures as are necessary to give effect to the … agreement.” Stolt-Nielsen S.

A. v. AnimalFeeds International Corp., 559 U.S. 662, 684-85 (2010) (emphases

added). Administrative fees may be necessary, but that does not transform

them from “basic procedural issues,” Chesapeake Appalachia, 809 F.3d at 762,

to substantive issues. The district court did not cite any authority supporting

the notion that issues necessary for arbitration are automatically substantive

issues for courts to decide. There is none.

      b.    While the district court said that it cannot “jigger” administrative

fees, RSA35, it overlooked the fact that the AAA has that discretion. Supra

pp. 20-21, 49-52; Lifescan, 363 F.3d at 1012-13. The AAA’s discretion high-

lights a critical flaw in the district court’s logic. If administrative fees are

substantive, as the court ruled, then the AAA should not decide them. Lum-

bermens, 623 F.3d at 481. But that would turn the AAA Rules on their head,

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not only because the Rules expressly commit administrative fees to the AAA,

see supra pp. 47-49, but also because the Rules specifically address adminis-

trative fees, see, e.g., 5-SA1197-1201. Here, the district court tried to split the

difference, ruling that Samsung had to pay filing fees now without addressing

the amount due. But as Lumbermens recognized, “[i]t would be strange to di-

vide these largely overlapping [issues] between the court and the arbitrator.”

Lumbermens, 623 F.3d at 481. There is no basis to treat one matter, like the

timing of administrative fees, as substantive and another matter, like the

amount of administrative fees, as procedural. The result is that the district

court is telling Samsung to pay what the AAA says, even when the AAA

says Samsung need not pay.

      c.    The district court’s reasons for departing from established

caselaw fail. See RSA32-34.

      First, the district court appeared to rely on Samsung’s ability to pay

filing fees to distinguish Dealer Computer Services, where the nonpaying party

did not. RSA33-34; see also RSA32-33 (discussing Croasmun, 2020 WL

7027726, at *4, McClenon, 473 F. Supp. 3d at 812, and Adams, 414 F. Supp. 3d

at 1255). That factual nuance makes no difference to the legal principle es-

tablished by Supreme Court and this Court’s precedent: a condition

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precedent to arbitration is a procedural matter for arbitral bodies to decide—

period. See BG Group, 572 U.S. at 34-35; Lumbermans, 623 F.3d at 480-82. As

the Supreme Court explained, “a ‘condition precedent’ determines what

must happen before ‘a contractual duty arises’ but does not ‘make the valid-

ity of the contract depend on its happening.’” BG Group, 572 U.S. at 35. Just

so with administrative fees. That is why Dealer Computer Services held, and

Lumbermans acknowledged, that “payment of fees is [a] question of proce-

dural condition precedent to arbitration that is for [an] arbitrator, not a court,

to decide.” Lumbermans, 623 F.3d at 482 (citing Dealer Computer Services, 588

F.3d at 887). The mere happenstance that the nonpaying party in one case

has the means to pay does not—indeed, cannot—transform a condition prec-

edent to arbitration into something that affects “whether there is a

contractual duty to arbitrate at all.” BG Group, 572 U.S. at 35 (emphasis omit-

ted). The district court thus erred in thinking that Dealer Computer Services

can be distinguished on its facts.

      Second, the district court appeared to think that the placement of the

AAA rules on fees under the headings “Costs of Arbitration” and “AAA Ad-

ministrative fees,” i.e., in “chapters that lack the word ‘procedure,’” meant




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that the rules could not be procedural. RSA33-34; see 5-SA1197-98. That rea-

soning makes no sense.

      Dealer Computer Services did not rely on the chapter headings in ruling

that the AAA rules give the AAA full discretion over administrative fees,

including their payment (and nonpayment), as “a procedural condition

precedent that the trial court should not review.” 588 F.3d at 887-88. The

Fifth Circuit reached that holding based on what the rules say; because the

rules clearly give the AAA full discretion over administrative fees, including

their payment (and nonpayment), id. at 888, the Fifth Circuit had no reason

to think that the chapter headings would somehow affect the substance of

the AAA rules.

      That makes sense, because chapter headings shed little light on the

question whether administrative fees are procedural or substantive. While a

heading or “title can inform the meaning of ambiguous text, it is well-settled

that it does not ‘limit the plain meaning of the text.’” United States v. Rand,

482 F.3d 943, 947 (7th Cir. 2007). And when the AAA Rules are read as a

whole, it is plain that administrative fees are part of the arbitration process,

because payment of such fees determines whether the arbitral proceedings

may begin or continue.

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                              CONCLUSION

      The Court should reverse, because the district court (1) erred in ruling

that Appellees met their evidentiary burden to establish that they each had

a valid arbitration agreement with Samsung; and (2) erred by resolving the

fee dispute.




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Dated: November 14, 2023                 Respectfully submitted,

                                         /s/ Shay Dvoretzky

Michael W. McTigue Jr.                   Shay Dvoretzky
Meredith C. Slawe                         Counsel of Record
Kurt Wm. Hemr                            Parker Rider-Longmaid
Colm P. McInerney                        Kyser Blakely
Jeremy Patashnik                         SKADDEN, ARPS, SLATE,
SKADDEN, ARPS, SLATE,                     MEAGHER & FLOM LLP
 MEAGHER & FLOM LLP                      1440 New York Ave., NW
One Manhattan West                       Washington, DC 20005
New York, NY 10001                       Telephone: 202-371-7000
                                         shay.dvoretzky@skadden.com
Randall W. Edwards
Matthew D. Powers                        Jonathan D. Hacker
O’MELVENY & MYERS LLP                    O’MELVENY & MYERS LLP
Two Embarcadero Center,                  1625 Eye Street, NW
 28th Floor                              Washington, DC 20006
San Francisco, CA 94111
                                         Ashley M. Pavel
Mark Howard Boyle                        O’MELVENY & MYERS LLP
DONOHUE BROWN                            610 Newport Center Drive,
 MATHEWSON & SMYTH LLC                    17th Floor
131 South Dearborn Street,               Newport Beach, CA 92660
 Suite 1600
Chicago, IL 60603                        James L. Kopecky
                                         KOPECKY SCHUMACHER
                                          ROSENBURG LLC
                                         120 North LaSalle Street,
                                          Suite 2000
                                         Chicago, IL 60601

    Counsel for Respondents-Appellants Samsung Electronics America, Inc.,
                      and Samsung Electronics Co., Ltd.




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                      CERTIFICATE OF COMPLIANCE

     Pursuant to Federal Rule of Appellate Procedure 32(g), I hereby certify

that this brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a)(7)(B) and Circuit Rule 32(c) because, as calculated

by Microsoft Word, it contains 13,994 words, excluding the parts of the brief

exempted by Federal Rule of Appellate Procedure 32(f). I also certify that

this brief complies with the typeface and type-style requirements of Federal

Rule of Appellate Procedure 32(a)(5) and (6) because it has been prepared in

a proportionally spaced typeface using Microsoft Word in a 14-point Book

Antiqua font.



Dated: November 14, 2023              /s/ Shay Dvoretzky
                                      Shay Dvoretzky

                                      Counsel for Respondents-Appellants
                                      Samsung Electronics America, Inc.,
                                      & Samsung Electronics Co., Ltd.




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                      CERTIFICATE OF SERVICE

     I hereby certify that on November 14, 2023, I electronically filed the

foregoing brief and the following Required Short Appendix with the Clerk

of the Court for the United States Court of Appeals for the Seventh Circuit

by using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the

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Dated: November 14, 2023             /s/ Shay Dvoretzky
                                     Shay Dvoretzky

                                     Counsel for Respondents-Appellants
                                     Samsung Electronics America, Inc.,
                                     & Samsung Electronics Co., Ltd.




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                CIRCUIT RULE 30(d) CERTIFICATION

     In accordance with Circuit Rule 30(d), I hereby certify that all materials

required by Circuit Rule 30(a) and (b) are included in the Required Short

Appendix and the Supplemental Appendix.



Dated: November 14, 2023             /s/ Shay Dvoretzky
                                     Shay Dvoretzky

                                     Counsel for Respondents-Appellants
                                     Samsung Electronics America, Inc.,
                                     & Samsung Electronics Co., Ltd.




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DISTRICT COURT MEMORANDUM OPINION AND ORDER
                 DIST CT. DOC. 51 (SEPT. 12, 2023)




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION



PAULA WALLRICH, DANIELLE
JONES, GRANT GRINNELL, JEFFREY
BURTON, RHONDA MCCALLUM,
PROVIDENCIA VILLEGAS, and
49,980 other individuals,

                      Petitioners,                    Case No. 22 C 5506

              v.                                  Judge Harry D. Leinenweber

SAMSUNG ELECTRONICS AMERICA,
INC. and SAMSUNG ELECTRONICS
CO., LTD.,

                      Respondents.



                        MEMORANDUM OPINION AND ORDER

     Petitioners, each Samsung device users, petitioned this Court

to compel arbitration against Respondent Samsung (Dkt. No. 1; Dkt.

No. 2) upon Samsung’s refusal to pay filing fees. Samsung moved to

dismiss the petition for improper venue (Dkt. No. 26) and opposed

the merits of the petition. For the reasons stated herein, the Court

grants   in    part   Samsung’s   Motion     to    Dismiss   (Dkt.   No.   26)     by

dismissing the action as to the 14,335 Petitioners who have failed

to plead proper venue in the Northern District of Illinois, and the

Court grants Petitioners’ Motion to Compel Arbitration (Dkt. No. 2)

by ordering the remaining parties to arbitrate.




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                                     I.    BACKGROUND

                                      A.       Parties

        Petitioners are 49,986 Samsung device users who have lived in

Illinois. (Pet. To Compel Arb. (“Pet.”) ¶¶1, 21, 28, Dkt. No. 1;

Pet. M. to Compel Arb. (“MTC”), Dkt. No. 2 at 1.) Respondents are

Samsung Electronics America, Inc. (“SEA”) and Samsung Electronics

Co. Ltd. (“SEC”) (collectively, “Samsung”). (Pet. ¶¶22-23.) SEC, a

Korean corporation, is the parent company to SEA. (Pet. ¶23.) Samsung

designs, manufactures, and sells devices, including smartphones and

tablets. (Pet. ¶27.)

                                          B.    Terms

        By utilizing their Samsung device, each user agreed to several

Terms & Conditions (“T&C”) established by Samsung. (See Samsung’s

In-Box Terms & Conditions, Pet. Ex. B, Dkt. No. 1-3; Samsung’s End

User License Agreement ¶16 “¶16. Arbitration Agreement,” Pet. Ex. C,

Dkt. No. 1-4; Samsung Electronics’ Terms and Conditions at 6, Pet.

Ex. D, Dkt. No 1-5; Samsung’s online Terms & Conditions, Pet. Ex. E,

Dkt. No. 1-6 (collectively, “terms” or “Arbitration Agreement”).) To

register a Samsung device, users must provide the company with

personally identifiable information such as the user’s name and zip

code (Petitioners’ Opposition to M. to Dismiss (“Opp. MTD”), Dkt.

No.       36    at     9);     see        “Create        your   Samsung    account,”




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                                               RSA3
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https://account.samsung.com/accounts/v1/MBR/signUp                 (last      accessed

July 13, 2023).

     Samsung’s terms stipulate alternative dispute resolution (ADR)

such that “[a]ll disputes with Samsung arising in any way from these

terms   shall     be   resolved   exclusively       through     final   and   binding

arbitration and not by a Court or Jury.” (Pet. Ex. E at 3; see Pet.

Ex. C ¶16; Pet. ¶¶2—3.) These terms also prohibit “class action” and

“combined    or     consolidated”       disputes,    instead     mandating     solely

individual claims. (Pet. Ex. E at 3; Pet. Ex. C ¶16; see Pet. ¶3.)

     The terms specifically delegates arbitration proceedings to the

American Arbitration Association (“AAA”). “The arbitration shall be

conducted according to the [AAA] Consumer Arbitration Rules” (Pet.

Ex. B at 10; Pet. Ex. C ¶16). Pursuant to the AAA Consumer Arbitration

Rules (“Consumer Rules” or “Rules”), an arbitrator is assigned to

resolve the claims brought. (Consumer Rules, Dkt. No. 1-7.) The

arbitrator is vested with “the power to rule on his or her own

jurisdiction,       including     any    objections      with    respect      to    the

existence, scope, or validity of the arbitration agreement or to the

arbitrability of any claim or counterclaim.” (Rule R-14.)

     The    Rules      outline   the    Association’s    fee     schedule     for   AAA

administrative         proceedings.     (See     Rules   at     33—40.)     Rule    R-6

specifies,

     The AAA may require the parties to deposit in advance of
     any hearings such sums of money as it decides are necessary


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     to cover the expense of the arbitration, including the
     arbitrator’s fee, and shall render any unused money at the
     conclusion of the case.

(Id. at 14.) The AAA’s fees were in place when Samsung initially

adopted its Arbitration Agreement in 2016, and those fees have been

reduced in the multiple case filing scenario by the AAA’s adoption

of its Supplementary Rules for Multiple Case Filings (“Supplementary

Rules”), effective August 1, 2021. (Reply MTC at 2; see also AAA

Supplementary Rules, Response MTC Ex. 2, Dkt. No. 27-2.)

     These Supplementary Rules apply when the same or coordinated

counsel   files    25   or    more   similar     demands    against     the   same

respondents. (See Supplementary Rules, Dkt. No. 27-2.) Together with

the Consumer Rules, the Supplementary Rules anticipate scenarios

where either consumers or businesses cannot pay, or decline to pay,

their assigned initial administrative fees. (See id.) Specifically,

     If administrative fees, arbitrator compensation, and/or
     expenses have not been paid in full, the AAA may notify
     the parties in order that one party may advance the
     required payment within the time specified by the AAA.

(Supplementary Rule MC-10(d).) A party that advances fees may then

recover them in the final arbiter award. (R-44(d); see Opp. MTC

at 6.) If the arbitrator determines that a party’s claim was filed

“for purposes of harassment or is patently frivolous,” she may

allocate filing fees to the other party in the final award. (Rule R-

44(c).) Additionally,




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        If payments due are not made by the date specified in such
        notice to the parties, the arbitrator may order the
        suspension or termination of the proceedings. If no
        arbitrator has yet been appointed, the AAA may suspend or
        terminate those proceedings. . . .

(Supplementary Rule MC-10(e)).

        Neither the terms nor the AAA Rules specifically designate the

venue for arbitration. The Rules do provide:

        If an in-person hearing is to be held and if the parties
        do not agree to the locale where the hearing is to be held,
        the AAA initially will determine the locale of the
        arbitration. If a party does not agree with the AAA’s
        decision, that party can ask the arbitrator, once
        appointed, to make a final determination. The locale
        determination will be made after considering the positions
        of the parties, the circumstances of the parties and the
        dispute, and the Consumer Due Process Protocol.

(Rule R-11.) (Id.)

                                  C.   Dispute

        Seeking   redress   for   alleged      violations    of   the    Illinois’

Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seq.,

Petitioners filed 50,000 individual arbitration demands before the

AAA on September 7, 2022. (Pet. ¶¶ 1, 11, 14 n. 2; see Representative

Sample of Demand, Pet. Ex. J, Dkt. No. 1-11; MTD, Dkt. No. 26 at 6,

17.) Appended to each petition was the arbitration agreement. (Dkt.

No. 35 at 6 (citing 2022.10.31 Letter from AAA to Parties, Reply MTC

Ex. A, Dkt. No. 35-1, replicated in Opp. MTC Ex. 14, Dkt. No. 27-

14.) On September 27, 2022, the AAA invoiced Petitioners for their

share     of   the   initial   administrative      fees,     which      Petitioners



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thereafter paid. (Id.; see also AAA Invoice to Claimants, Dkt. No.

1-13; Claimants Payment Confirmation, Dkt. No. 1-14.) On September

27, 2022, Samsung notified the AAA that it would not pay its share

of   the    assessed    initial    administrative       fees   for   the   Illinois

claimants because it found the claimant list included discrepancies

such as deceased claimants and claimants who were not Illinois

residents. (See Pet. ¶14, Ex. N, Dkt. Nos. 1, 1-15.) Samsung agreed

to pay the fees for fourteen petitioners now living in California,

citing California Code of Civil Procedure § 1281 et seq., which

provides for sanctions in event of nonpayment. (Pet. ¶14 n. 2; see

Pet. Ex. N.)

       On   October     7,   2022,     Petitioners,      as    49,986    individual

claimants, filed in this Court a Petition for an Order to compel

Samsung to arbitrate. (See Pet.) Petitioners have not sought class

certification.

       In reviewing the arbitration demands at issue here, the AAA

determined both the AAA Rules and the Supplementary Rules apply.

(10.12.22 Letter from AAA to Parties, Opp. MTC, Ex. 3, Dkt. No. 27-

3.) Pursuant to these rules, the claimants must provide to the AAA

a spreadsheet that includes the claimant’s name, claimant city,

state, zip code, claim date, and locale state. (See id.; see Rule R-

2; Supplementary Rule MC-2.) Claimants did so. (See 10.12.22 Letter.)

But, consistent with Samsung’s objections a couple weeks prior as to



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certain individuals listed, the AAA found the spreadsheet contained

“inaccurate/incomplete information.” (Id.) Thus, the AAA requested

a corrected spreadsheet (id.), thereafter provided by Petitioners

(2022.10.21       Labaton    Email,   Dkt.    No.   27-13   at   1)   to    the   AAA’s

satisfaction (2022.10.31 AAA Letter, e.g., Dkt. No. 27-14; see

Amended Claimant Spreadsheet, Exhibit D, Dkt. No. 36-4.) Aside from

the    14   California      claimants,    14,334    claimants     listed     as   their

claimant city an Illinois town in the Central or Southern districts

of Illinois, one individual listed Brooklyn, New York, and the

remainder listed a locale within the Northern District of Illinois.

(Id.; MTD.)

        The AAA issued its administrative determination on October 31,

2022, that “claimants have now met the AAA’s administrative filing

requirements on each of the 50,000 cases filed,” and that “Samsung

is now responsible for payment of the initial administrative filing

fees totaling $4,125,000.00.” (10.31.22 AAA Letter, Dkt. Nos. 27-

14; 35-1.) On November 8, 2022, Samsung again declined to pay the

initial fees. (Dkt. No. 27-15.) On November 14, the AAA notified the

parties: “Based on the claimants’ and Samsung’s statements declining

to pay Samsung’s portion of the filing fees for the non-California

cases, unless we hear otherwise prior to November 16, 2022, the AAA

will     close    all    non-California      cases.”     (Dkt.    No.      27-16.)    On

November 17, 2022, Petitioners again declined to pay Samsung’s fees.



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(Dkt. No. 27-17.) On November 30, 2022, the AAA notified the parties

that it had administratively closed those 49,986 claims. (Dkt. No.

27-19.) Since the AAA required the payment of initial fees to

proceed, the AAA neither assigned an arbitrator to the claims, nor

designated a locale for arbitration. (See Supplementary Rule MC-

10(a); Rule R-11; see also Opp. MTD at 1-2; Reply MTD at 8-9.)

                               II.   LEGAL STANDARD

     The Court considers the parties’ arguments as demanded by the

respective standards.

                      A.     Subject Matter Jurisdiction

     A   federal     court    must   have   subject   matter    jurisdiction       to

adjudicate any claim brought before it. Mathis v. Metro. Life Ins.

Co., 12 F.4th 658, 663 (7th Cir. 2021). Subject matter jurisdiction

cannot be waived, and if the Court determines at any point that it

lacks subject matter jurisdiction over the matter, it must dismiss

the action. FED. R. CIV. P. 12(h)(3).

                B.    Motion to Dismiss for Improper Venue

     Pursuant to Federal Rule of Procedure 12(b)(3), this Court

reviews the motion to dismiss for improper venue by “construing all

facts and drawing reasonable inferences in favor of the plaintiff.”

Faulkenberg v. CB Tax Franchise Sys., LP, 637 F.3d 801, 806 (7th

Cir. 2011); see also FED. R. CIV. P. 12(b)(3). The Court may consider




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facts beyond the pleadings in its venue analysis. Cont’l Cas. Co. v.

Am. Nat’l Ins. Co., 417 F.3d 727, 733 (7th Cir. 2005).

                        C.   Motion to Compel Arbitration

        The FAA allows that a party “aggrieved by the alleged failure,

neglect, or refusal of another to arbitrate under a written agreement

for arbitration may petition any United States district court . . .

for an order directing that . . . arbitration proceed in the manner

provided for in such agreement.” 9 U.S.C. § 4. Thus, “arbitration

should be compelled if three elements are present: (1) an enforceable

written agreement to arbitrate, (2) a dispute within the scope of

the arbitration agreement, and (3) a refusal to arbitrate.” Scheurer

v. Fromm Family Foods LLC, 863 F.3d 748, 752 (7th Cir. 2017) (citing

Zurich Am. Ins. Co. v. Watts Indus., Inc., 417 F.3d 682, 687 (7th

Cir. 2005)).

        Courts in this Circuit apply an evidentiary standard akin to

that articulated in Federal Rule of Civil Procedure 56(e) for summary

judgment when determining whether the parties agreed to arbitrate.

Tinder v. Pinkerton Sec., 305 F.3d 728, 735 (7th Cir. 2002). Thus,

if the party seeking arbitration offers evidence sufficient to find

the     parties’    agreement     to   arbitrate,     the   opposing     party   must

demonstrate a “genuine dispute of material fact regarding whether

the parties agreed to arbitrate in the first place,” Kass v. PayPal

Inc., 2023 WL 4782930, at *5 (7th Cir. July 27, 2023). The opposing



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party cannot “generally deny[] facts” but must identify specific

evidence in the record to support its argument. Tinder, 305 F.3d at

735. A court may not rule on either the potential merits of the

underlying claim or its arbitrability when these determinations are

assigned by contract to an arbitrator, even if a court perceives

frivolity. Henry Schein, Inc. v. Archer & White Sales, Inc., 139

S.Ct. 524, 530 (2019); AT&T Mobility LLC v. Concepcion, 563 U.S.

333, 649-50 (2011).

                               III.    DISCUSSION

                     A.   Subject Matter Jurisdiction

     In their petition, Petitioners attribute this Court’s subject

matter    jurisdiction    to   the    federal      question     of   the   Federal

Arbitration Act (“FAA”), 9 U.S.C. § 1, et seq., pursuant to federal

jurisdictional statutes, 28 U.S.C. §§ 1331 and 1367. It is not so

simple.

     In 1925, Congress enacted the FAA “[t]o overcome judicial

resistance to arbitration,” Buckeye Check Cashing, Inc. v. Cardegna,

546 U.S. 440, 443 (2006), and to declare “‘a national policy favoring

arbitration’ of claims that parties contract to settle in that

manner,” Preston     v.   Ferrer,     552   U.S.   346,   353   (2008)     (quoting

Southland Corp. v. Keating, 465 U.S. 1, 10 (1984)). Pursuant to

Section 4 of the FAA, aggrieved parties “may petition any United

States district court which, save for such agreement, would have



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                                      RSA11
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jurisdiction under title 28, in a civil action or in admiralty of

the subject matter of a suit arising out of the controversy between

the parties, for an order directing that such arbitration proceed in

the manner provided for in such agreement.” 9 U.S.C. § 4.

       Still, the Act remains “‘something of an anomaly in the field

of federal-court jurisdiction’ in bestowing no federal jurisdiction

but rather requiring an independent jurisdictional basis.” Hall St.

Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576, 581–82 (2008) (quoting

Moses H. Cone, 460 U.S. at 25, n. 32); see also Badgerow v. Walters,

142 S.Ct. 1310, 1314 (2022). An “independent jurisdictional basis”

may derive from the underlying controversy. Vaden v. Discover Bank,

556 U.S. 49, 62, (2009)). Section 4 “instructs a federal court to

‘look    through’   the    petition      to    the    ‘underlying    substantive

controversy’ between the parties—even though that controversy is not

before the court. Badgerow, 142 S.Ct. 1310, 1314 (quoting Vaden, 556

U.S. at 62). Arbitration agreements, like this one, often involve

only    questions   of    state   law.   See    id.    at   1326    (Breyer,   J.,

dissenting). Here, the action is predicated under Illinois state

law, i.e., the Illinois Biometric Information Privacy Act (“BIPA”),

740 ILCS 14/15(b). Therefore, Petitioners’ claim of subject matter

jurisdiction by means of a federal question remains improper.

       Nevertheless, Respondents concede a different jurisdictional

basis still rooted in the FAA itself, citing Vaden, 556 U.S. at 59



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                                     RSA12
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n.9 (2009) and sections 202 and 203 of the FAA, “because . . . the

arbitration agreement is not ‘entirely between citizens of the United

States’” as Respondent SEC is a South Korean corporation. (MTD, Dkt.

No. 26 at 9-10 (quoting 9 U.S.C. § 202); see Pet. ¶23.) The Court

agrees that there is jurisdiction under Chapter 2.

      In 1970, the United States acceded to the Convention on the

Recognition and Enforcement of Foreign Arbitral Awards, June 10,

1958, 21 U.S.T. 2517, T.I.A.S. No. 6997, (Convention), which Congress

codified by implementing Chapter 2 of the FAA, as expressed in

section 201 of the FAA. GE Energy Power Conversion France SAS, Corp.

v. Outokumpu Stainless USA, LLC, 140 S.Ct. 1637, 1644 (2020) (“GE

France”) (citing 84 Stat. 962 and 9 U.S.C. §§ 201–208). “Chapter 2

. . . empowers [federal] courts to compel arbitration” over actions

falling under the Convention. GE France, 140 S.Ct. at 1644 (citing

§ 206 and Convention Article II(3)); see 9 U.S.C. § 202. An agreement

“fall[s] under the Convention” when it is commercial in nature and

a   party   is   foreign.     9   U.S.C.   §    202.   Chapter   2   also   states,

“‘Chapter 1 applies to actions and proceedings brought under this

chapter to the extent that [Chapter 1] is not in conflict with this

chapter or the Convention.’” Id. (quoting § 208).

      Therefore, although Petitioners bring the action to compel

arbitration under Section 4 in Chapter 1 of the statute, this Court

maintains its subject matter jurisdiction through Chapter 2 to compel



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                                       RSA13
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arbitration of this commercial arbitration agreement with a foreign

party.

                                   B.   Venue

     Chapter 2, section 204 of the FAA contains its venue provision,

which “supplement[s], but do[es] not supplant the general [venue]

provision, [28 U.S.C. § 1391].” Cortez Byrd Chips, Inc. v. Bill

Harbert Const. Co., 529 U.S. 193, 198 (2000); see also Day v. Orrick,

Herrington & Sutcliffe, LLP, 42 F.4th 1131, 1141 (9th Cir. 2022)

(Section 204 is a “permissive, supplemental venue provision in

addition to the general venue provision, 28 U.S.C. § 1391.”). Samsung

seeks to dismiss on grounds that neither provision affords venue to

this action. Petitioner argues that venue is proper under both

statutes. The Court considers each path.

                1.   FAA Venue Provision, 9 U.S.C. § 204

     Under section 204 of the FAA, a court exercising jurisdiction

under section 203 is a proper venue for an action where (1) “save

for the arbitration agreement an action or proceeding with respect

to the controversy between the parties could be brought,” or (2)

“the district . . . embraces the place designated in the agreement

as the place of arbitration.” 9 U.S.C. § 204.

     As discussed, supra, Petitioners cannot establish the first

option for venue under section 204 of the FAA because the arbitration

agreement itself is the source of subject matter jurisdiction. Absent



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                                     RSA14
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an agreement subject to the Convention, this Court would not have

jurisdiction on the underlying BIPA issue. This leaves the second

option. Petitioners claim, “[v]enue is proper in this District

because . . . the arbitrations were venued to take place in this

District.” (Pet. ¶26.) However, the numerous exhibits to this action

do not show as much. Rather than designating a place of arbitration,

Samsung’s Arbitration Agreement simply incorporates the AAA Rules.

Rule R-11 provides that if the parties do not agree to the locale

for a hearing, the appointed arbitrator will determine the venue

after considering the positions of the parties, dispute, and AAA due

process   protocol.    The   AAA   did   not   appoint    an   arbitrator,     nor

determine venue of any arbitration before closing its proceedings.

     For these reasons, venue does not lie in this District pursuant

to the FAA.

              2.   General Venue Statute, 28 U.S.C. § 1391

     Petitioners alternatively seek to establish venue under the

general venue statute, 28 U.S.C. § 1391, through § 1391(b)(2), which

affords venue to “a judicial district in which a substantial part of

the events or omissions giving rise to the claim occurred.” 28 U.S.C.

§ 1391(b).

     Petitioners claim that venue lies here “because many of the

Petitioners live in this District” (Pet. ¶26), and the claimants’

use of their Samsung Devices in this district evidence a “substantial



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                                     RSA15
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part of the events giving rise” to Petitioners’ claims occurring

here. (Opp. MTD, Dkt. No. 36 at 29). Petitioners assert via exhibits

that its 49,985 claimants are Illinois residents, approximately

35,651 of whom reside within the Northern District of Illinois. (See

Pet. Ex. A, Dkt. No. 1-1; Pet. Opp. MTD Ex. D, Dkt. No. 36-4.)

Samsung argues that because Petitioners’ Exhibit D does not provide

the   names   associated    with   these    claims,   Petitioners      failed      to

identify the claimants as necessary for Samsung to form a defense.

Petitioners retort that Samsung has these names, which are listed in

the otherwise identical spreadsheet provided to the AAA. Petitioners

suggest that they omitted the names in the case filing to preserve

these claimants’ privacy during the litigation. (See Opp. MTD, Dkt.

No. 36 at 22 n. 6.) Petitioners argue that when coupled with the

identifying information Samsung obtains from its users upon users’

registration    or   account    creation,     these   cross-references       offer

sufficient evidence for Samsung to identify each claimant during

arbitration. The Court agrees.

      Samsung next argues, “[t]o the extent that Petitioners seek to

use their place of residence as a proxy . . . to satisfy the

‘substantial events’ provisions of Section 1391 in this District,

Petitioners fail to provide sufficient evidence of each Petitioner’s

residence” (MTD at 15), and “[Petitioners’] speculation that all

Petitioners    may   have   used   their   devices    while   residing    in    and



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                                     RSA16
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traveling throughout this District is mere guesswork” (MTD Reply,

Dkt. No. 38 at 22 (citations omitted)). It is true that a plaintiff’s

residence alone fails to satisfy § 1391’s requirements. Ford-Reyes

v. Progressive Funeral Home, 418 F.Supp. 3d 286, 290 (N.D. Ill.

2019). Instead, this Court looks to events that constitute part of

the    historical     predicate      of    Plaintiffs’      suit.   See    Johnson   v.

Creighton Univ., 114 F.Supp. 3d 688, 696 (N.D. Ill. 2015).

       The historical predicate to Petitioner’s petition for compelled

arbitration includes the formation of a contract to arbitrate (upon

the Petitioner’s assent to Samsung’s Arbitration Agreement when,

e.g., purchasing or activating their Samsung Device), the alleged

violations that occurred during Petitioners’ foreseeable use of the

device, and Samsung’s actions rejecting arbitration. Petitioners

adequately showed that the formation of the contract and the alleged

violations took place, foreseeably, in the Northern District of

Illinois for most Petitioners. The Court takes judicial notice of

today’s norm that smartphone users use their smartphone where they

live    and   travel      and   likely     purchased   it    nearby.      Drawing    all

reasonable inferences from Petition Exhibit D, its cross-references,

and Petitioners’ assertions that each claimant used their Samsung

Device   within      the    Northern      District   of   Illinois     (usage   which

motivated their individual arbitration claims, and by extension, the

petition      in   this    court),   the    approximately      35,651     Petitioners



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                                          RSA17
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residing in this district have established that this is the proper

venue for their motion to compel arbitration.

       Not so, however, for the 14,335 Petitioners who admittedly do

not    reside   in    this    district.     Petitioners      fail   to   explain    the

connection between the Northern District of Illinois and the Illinois

residents living outside it.              Illinois is a sizeable state. For

example, ten claimants list as their residence Dongola, Illinois, a

town    located      nearly   350   miles    from    this     Courthouse.    Although

Petitioners correctly point out that a “substantial part” does not

require a majority and that “substantial part[s]” of the same claim

can occur in multiple districts, see Receivership Mgmt. v. AEU

Holdings, 2019 WL 4189466, at *14 (N.D. Ill. 2019), the Court

recognizes no presumption that every Illinois resident conducts a

substantial part – or any part – of their life in Chicagoland or

this district more broadly. Thus, for those 14,335 individuals, even

after drawing all reasonable inferences, Petitioners have failed to

allege sufficiently that a “substantial part of the events” giving

rise to the present dispute occurred in this district. § 1391(b)(2).

       Petitioners     argue    that   because      Samsung    admitted     that   this

District was the proper venue in the BIPA class-action suit against

Samsung   in    the    Northern     District,    G.T.   v.     Samsung    Electronics

America, Inc., No. 1:21-cv-04976, ECF No. 17, Samsung cannot now

argue to the contrary in this suit. See Opp. MTD at 31. But, as



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                                       RSA18
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Petitioners appear to acknowledge, the claimants in this action are

not necessarily party to the other one. See Reply MTC at 14 (“Samsung

cannot simply refuse to pay its fees in hopes of ushering Petitioners

into the G.T. class action,” implying the Plaintiffs in these two

cases are not identical). Petitioners offered no authority to support

their claim that a finding of proper venue in one case transfers.

Nor will they find validation from this Court today. Therefore, for

the approximately 14,355 non-residents of this District, Petitioners

have failed to allege sufficient facts to determine that this is the

proper venue for their suits.

       Thus, this Court infers that for the 35,651 claimants who

alleged       residence   within    the    Northern   District    of   Illinois,      a

substantial part of the events giving rise to this dispute occurred

in     this     District.     Therefore,      Petitioners      have    sufficiently

established that venue lies in this district for their breach of

arbitration agreement claims. The petitions as to these remaining

non-resident claimants are dismissed without prejudice for improper

venue.

                              C.   Compel Arbitration

       Before the Court considers whether to compel arbitration, the

Court will explain why it can. After determining that the case

warrants such an order, the Court considers whether to explicitly

order the payment of fees.



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                                          RSA19
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     Samsung declares that the Court may not compel arbitration

(including its fees) because Petitioners are now entitled to proceed

in Court from where Petitioners might attain an adequate remedy at

law. The authorities Samsung cites, address different forms of relief

than that sought here. See United States v. Rural Elec. Convenience

Co-op.   Co.,   922   F.2d    429,    432   (7th      Cir.   1991)    (preliminary

injunction); Unilectric, Inc. v. Holwin Corp., 243 F.2d 393, 396

(7th Cir. 1957) (royalties); King Mechanism & Eng’g Co. v. W. Wheeled

Scraper Co., 59 F.2d 546, 548 (7th Cir. 1932) (patent infringement).

Because the FAA empowers this Court to compel arbitration, Samsung’s

arguments against specific performance remain inconsistent with the

statute.

     Samsung    alternatively     argues       that   this   action    should    not

continue in court. Because the AAA applied its established rules to

this matter, Samsung’s theory goes, the Court lacks authority to

“second-guess that determination and order [the AAA] to re-open the

proceedings.”    (Reply    MTD   at   8-9.)     Not   quite.   See    McClenon     v.

Postmates Inc., 473 F.Supp. 3d 803, 812 (N.D. Ill. 2020) (granting

motion to compel arbitration after the AAA had closed the cases upon

failure of parties to pay the required fees). Samsung’s Arbitration

Agreement requires dispute resolution “exclusively through final and

binding arbitration, and not by a court or jury.” (See Pet. Ex. E,




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                                      RSA20
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Dkt. No. 1-6 at 3.) But no “final and binding” arbitration has been

had here.

       The cases upon which Samsung relies are distinguishable. For

instance, the Fifth Circuit in Noble Cap Fund Mgmt., L.L.C. v. US

Cap. Glob. Inv. Mgmt., L.L.C., 31 F.4th 333, 336 (5th Cir. 2022),

affirmed a district court’s denial of a motion to compel arbitration

where the claim had been terminated for failure to pay arbitral fees,

because “[e]ven though the arbitration did not reach the final merits

and was instead terminated because of a party’s failure to pay its

JAMS [the ADR provider] fees, the parties still exercised their

contractual right to arbitrate prior to judicial resolution in

accordance with the terms of their agreements.” Id. In Noble, both

parties had met the association’s prerequisites to proceed with the

arbitration, and the assigned arbitrator had already entered an

Emergency Arbitrator’s Award after a hearing on the merits. Id. at

335. It was only after the arbitration’s sustaining fees went unpaid

that   the   arbitration    “officially       closed.”    Id.   Here,    the   AAA

proceedings did not get that far. The cases were administratively

closed on November 30, 2022, having not moved beyond the AAA’s

determination the claims could proceed. An arbitrator was never

assigned to their dispute. Thus, our granting the motion to compel

arbitration does not “second-guess” any merits determination. It

simply returns the matter to the AAA so it may issue one.



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                                     RSA21
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     The Court will now assess the Motion to Compel on the merits.

                        1.   Valid Agreement to Arbitrate

     The    Court   may      only   compel   arbitration    when    the   written

arbitration agreement is enforceable. 9 U.S.C. § 2; Dean Witter

Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (citing 9 U.S.C. §§

3, 4); see GE France, 140 S.Ct. at 1645 (citing Convention Article

II(3)); see also Convention Article II(1).

     Petitioners claim to be Samsung device users who agreed to

Samsung’s drafted Arbitration Agreement. To contend Plaintiff has

not met their burden to show a valid agreement to arbitrate, Samsung

cites cases where the moving party failed to show the existence of

an agreement. That is not the issue here. It remains undisputed that

the arbitration agreement is written and enforceable against the

parties that accede to it. Samsung’s strongest argument here is that

Petitioners failed to show that each one entered into this agreement.

     In Bigger v. Facebook, Inc., 947 F.3d 1043, 1051 (7th Cir.

2020), the Seventh Circuit reviewed this Court’s grant of class

certification when Facebook opposed the issuance of notice on the

grounds    that   its    employees   entered   arbitration     agreements     that

prohibited class actions. Id. To support this argument, Facebook

provided a template of the agreement and estimates of how many

employees signed such forms. Id. It did not supply actual executed

documents. Id. The Seventh Circuit directed this Court to permit the



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                                      RSA22
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parties to submit additional evidence on the agreements’ existence

and validity. Id. at 1050.

       Here, the Court has more information. There is a discrete list

of named Petitioners. The AAA has already reviewed Petitioners’

arbitration agreements and determined that they met the filing

requirements. The terms do not require signature for execution (see

Pet. Opp. MTD, Dkt. No. 36 at 9); elsewhere, Samsung acknowledged

that    each   Samsung    device   holder    accepted    Samsung’s      terms   and

conditions     containing    the   arbitration     clause    when   using    their

Samsung device. See G.T. v. Samsung Electronics America, Inc., No.

1:21-cv-04976, ECF No. 17 at 10. As discussed supra, the Court finds

Petitioners have made a sufficient showing that they are customers.

In light of the record, the Court finds a valid agreement to

arbitrate between Samsung and the Petitioners who are customers.

       To find that each Petitioner residing in this District is a

Samsung customer, the Court must accept the word of over 30,000

individuals, some of whom may have been recruited to this action by

obscure social media ads. (See Dkt. Nos. 27-7—27-10.) Samsung has

not    identified   a    genuine   issue    of   fact   as   to   any   individual

Petitioner. Kass, 2023 WL 4782930, at *5. Samsung has a customer

list, against which they could compare the list of Petitioners.

Samsung raised concerns about specific names to the AAA, which in

turn asked Petitioners to correct their list. Petitioners did so,



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                                     RSA23
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and the record does not show that Samsung has raised specific

concerns since. Samsung’s current rejection that all Petitioners are

customers is merely “denying facts,” and this is not enough. Tinder,

305 F.3d at 735 (“Just as in summary judgment proceedings, a party

cannot avoid compelled arbitration by generally denying the facts

upon which the right to arbitration rests; the party must identify

specific evidence in the record demonstrating a material factual

dispute for trial.”); see FED. R. CIV. P. 56(e).

      Moreover, the inquiry for purposes of providing notice involves

different interests than those of whether to compel arbitration. In

Bigger,    the   Court   explained    the    inconveniences    associated     with

providing notice of a class to many people who could eventually be

found ineligible due to an arbitration agreement. 947 F.3d at 1050–

51. Here, the claimants, as parties to the case, are already aware

of it.

      Therefore, the Court finds a valid agreement to arbitrate.

      2.   Dispute within the Scope of the Arbitration Agreement

      Once the court finds a valid agreement to arbitrate, the party

opposing arbitration has the burden to show that the dispute falls

outside the scope of the agreement. Hoenig v. Karl Knauz Motors.,

983   F.Supp.    2d   952,   962   (N.D.    Ill.   2013)   (citing   Shearson/Am.

Express, Inc. v. McMahon, 482 U.S. 220, 226–27 (1987)). Still, when

parties clearly and unmistakably delegate threshold arbitrability



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                                      RSA24
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questions to an arbitrator, a court “possesses no power to decide

the arbitrability issue.” Henry Schein, Inc. v. Archer & White Sales,

Inc., 139 S.Ct. 524, 530 (2019). The Court assesses the parties’

arbitration agreement under Illinois law to determine whether there

exists an enforceable delegation clause. See Gupta v. Morgan Stanley

Smith Barney, LLC, 934 F. 3d 705, 711 (7th Cir. 2019).

     Petitioners argue, and Samsung does not meaningfully dispute,

that through text such as, “The arbitrator shall decide all issues

of interpretation and application of this Agreement” (Pet. Exs. B-

E), Samsung’s arbitration agreement delegates questions regarding

its scope to an arbitrator. The Court agrees with this interpretation

of the plain language. See Rent-A-Ctr., W., Inc. v. Jackson, 561

U.S. 63, 66, 72 (2010) (holding that language, “Arbitrator . . .

shall have exclusive authority to resolve any dispute relating to

the interpretation, applicability, enforceability or formation of

this Agreement” constituted a clear and unmistakable delegation of

arbitrability    questions     to   the   arbitrator).     Additionally,      many

courts have held that reference to or incorporation of AAA rules –

which   the   agreement    here     references    –   constitutes     clear    and

unmistakable evidence to delegate arbitrability to an arbitrator.

See Tel. Invs. USA, Inc. v. Lumen Techs., Inc., 2022 WL 2828751, at

*4 (N.D. Ill. July 20, 2022) (collecting cases).




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                                     RSA25
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       Samsung argues that petitioning on behalf of nearly 50,000

petitioners violates the Arbitration Agreement’s collective action

waiver. Whether the mass filings are indeed appropriate under the

arbitration agreement in light of its class action waiver provision

is clearly a question of scope. Thus, because the parties both agreed

to    delegate      enforceability      questions     to    the    arbitrator      and

incorporated the AAA rules in the arbitration agreement, the question

of    whether     Petitioners’       mass   filings   violate     the     Arbitration

Agreement remains for an arbitrator, not this Court. See Henry

Schein, 139 S.Ct. at 530; see also McClenon, 473 F.Supp. 3d at 811–

12.

       The question of arbitrability of Petitioners’ underlying BIPA

claims reaches the same result. Samsung insinuates that Petitioner’s

claims are frivolous and for that reason Samsung should be entitled

to evade arbitration. The U.S. Supreme Court said otherwise: “[The

FAA] contains no ‘wholly groundless’ exception, and we may not

engraft our own exceptions onto the statutory text.” Henry Schein,

139 S. Ct. at 530.

       Therefore,      the   Court    resolves    this     element   in    favor      of

arbitration.

                             3.   Refusal to Arbitrate

       The Court now turns to whether Samsung’s refusal to pay the

AAA’s fees for each individual claimant constitutes a breach of its



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                                        RSA26
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own arbitration agreement. Determining that it does, the Court then

considers whether its order to compel arbitration should specify fee

payment.

      Under the FAA, “the court shall make an order directing the

parties to proceed to arbitration in accordance with the terms of

the agreement,” in the event of “failure, neglect, or refusal” of

the non-moving party to arbitrate. 9 U.S.C.A. § 4.

      Samsung sets forth interweaving arguments: Samsung’s refusal to

pay   fees   was   not   a   breach;   Petitioners    waived   their    right      to

arbitrate thus relieving Samsung of responsibility; and the AAA

enjoys sole authority to determine a resolution regarding fees.

Petitioners argue that Samsung’s failure to pay constitutes a breach

that this Court must remedy by ordering Samsung to take effective

action to arbitrate.

      Samsung asserts that it “declined to pay the arbitral fees but

stood ready to arbitrate.” (Reply MTD at 4.) That is a contradictory

position. Arbitration was conditioned on the payment of the AAA’s

assessed fees, per Samsung’s own Arbitration Agreement. The AAA’s

Consumer Rules establish that “the AAA may require the parties to

deposit in advance of any hearings such sums of money as it decides

are necessary to cover the expense of the arbitration,” (Rule R-6

(emphasis added)), and the AAA did this. (See ex. 27-14 (“Samsung is




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                                       RSA27
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now responsible for payment of the initial administrative filing

fees totaling $4,125,000.00”) (emphasis added).)

       Samsung retorts that because the AAA rules anticipated non-

payment, see e.g., Supplementary Rule 10(d), Samsung’s actions were

acceptable. But the fact that Petitioners had the option to pay

Samsung’s fees does not negate the reality that those fees were

deemed    Samsung’s     responsibility      by    the   AAA.    A     rule’s     mere

anticipation      of   violations    thereof     does   not   render    violations

permissible. If so, this justice system in which we operate would

make a lot less sense.

       Samsung goes on to argue that Petitioners had a choice “between

(i) advancing the filing fees and seeking to recoup them in the

arbitration and (ii) permitting the arbitral cases to be closed and

proceeding in court,” and because they failed to pay Samsung’s fees,

Petitioners’ waived their right to compel arbitration. (Reply MTD,

Dkt.   No.   38   at   15.)   Samsung     thus    concludes    that    Petitioners

“knowingly     relinquish[ed]       the   right    to    arbitrate     by      acting

inconsistently with that right.” Morgan v. Sundance, Inc., 142 S.Ct.

1708, 1714 (2022).

       The Court disagrees. In Morgan, the defendants litigated in

court for nearly eight months after the suit’s filing before moving

to stay the litigation and compel arbitration. Id. at 1711. Here,

Petitioners immediately moved to compel arbitration when Samsung



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                                      RSA28
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expressed its refusal to pay the fees. This is after Petitioners had

sent Samsung notices of intent to arbitrate, filed complaints in the

forum agreed upon by the Arbitration Agreement, and satisfied their

AAA-dictated financial responsibilities by paying their own filing

fees.

      Samsung’s reference to Cota v. Art Brand Studios, LLC, 21-cv-

1519 (LJL), 2021 U.S. Dist. LEXIS 199325, at *46 (S.D.N.Y. Oct. 15,

2021), also misses the mark. In Cota, the district court denied the

defendant art studio company’s motion to compel arbitration after

the defendants refused to pay AAA arbitration fees for the plaintiff

artists. Id. But in that case, both parties consistently paid the

AAA’s initial fees to allow the claims to be heard by the arbitrator

panel. Id. at 14. Only after receiving significantly larger invoices

for subsequent final fees, the plaintiffs notified the AAA they were

unable to pay due to financial hardship, then the AAA offered to the

defendants the option to cover those costs to keep the arbitration

alive. Id. at 27. But here, Samsung declined to pay its share of the

arbitration fees, not because of financial hardship, but because of

its     own   independent     determination          of     deficiencies     within

Petitioners’ claims, even after Petitioners corrected them to AAA’s

satisfaction.    Samsung    also   declined     to    pay    the   fees    from   the

beginning, unlike the party in Cota that initially paid the fees in

a showing of good faith.



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                                     RSA29
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     Given the AAA’s own determination that the claimants met the

AAA’s   administrative     filing    requirements       and   Petitioners’     own

compliance with its filing and financial requirements based on the

AAA’s rules and procedures, Petitioners’ refusal to meet Samsung’s

financial   obligations     does    not    constitute    a    waiver   to   compel

arbitration. Plaintiff’s conduct has consistently aligned with their

right to arbitrate. At least, Defendant has not shown otherwise.

                                    4.    Fees

     Finally, the Court turns to whether to compel Samsung to pay

fees. Other courts have observed “no totally satisfactory solution”

to a party’s nonpayment of its share of arbitration fees. Lifescan,

363 F.3d at 1013.

     Samsung argues that because the AAA’s rules include provisions

regarding the payment of fees, and the parties elected to grant the

AAA discretionary authority regarding the implementation of those

rules, the AAA enjoys sole authority to determine a resolution to

Samsung’s shirked fee responsibilities. In other words, the Court

should treat this like it treated the class action waiver.

     In Howsam v. Dean Witter Reynolds, Inc., the Supreme Court

distinguished    between    procedural      and   substantive     questions        of

arbitrability. 537 U.S. 79, 84 (2002) (“[A] gateway dispute about

whether the parties are bound by a given arbitration clause raises

a ‘question of arbitrability’ for a court to decide.”) The Court



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                                     RSA30
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concluded that the ADR tribunal’s time-bar rule was akin to a

“waiver, delay, or a like defense” and was thus procedural, for an

arbitrator. Id. at 85 (cleaned up). The Howsam Court looked to

comments to the Revised Uniform Arbitration Act (“RUAA”), modeled to

incorporate FAA jurisprudence, providing, “ ‘in the absence of an

agreement to the contrary, issues of substantive arbitrability . .

. are for a court to decide and issues of procedural arbitrability,

i.e., whether prerequisites such as time limits, notice, laches,

estoppel,   and   other    conditions     precedent     to   an   obligation       to

arbitrate have been met, are for the arbitrators to decide.’ ” Id.,

(quoting RUAA § 6, comment 2, 7 U.L.A., at 13 (emphasis in Howsam).

Here, the parties disagree that they are bound by the Arbitration

Agreement to pay the filing fee, therefore, it is for this Court to

decide “whether the parties are bound” to do so. Id. at 84.

     Indeed, the filing fee is more substantial than a time limit.

The AAA, commonsensically, requires fees to perform its services.

The AAA can validly refuse to conduct arbitrations without payment,

as it did here. To expect it to perform its arbitral services

regarding payment without payment places undue burden on a non-

breaching party, either the AAA or the claimants, to front the costs.

If this Court merely orders arbitration but not the payment of fees,

the AAA might seek payment from Petitioners with the expectation

that Petitioners will invoice Samsung for this payment. (See Rule R-



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                                     RSA31
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2 (a)(3), Dkt. No. 1-7.) For what it is worth, the Court understands

that   Samsung   –   who   has   argued    neither    inability      to   pay   nor

unconscionability – can also recoup its fees if Petitioners’ claims

are as “harass[ing]” or “frivolous” as it contends (see Rule R-44

(c)), but the Court has not been convinced that Petitioners are able

to lend over $4,000,000 while the dispute pends.

       The Court also remains unpersuaded by courts that have compelled

arbitration    yet   declined    to    extend   the   ruling    to   payment       of

arbitration fees in distinguishable cases. In Croasmun v. Adtalem

Glob. Educ., Inc., Judge Lefkow declined to compel arbitral fees

upon finding “no indication that JAMS [the arbitration tribunal]

will not resolve the fees issue if asked.” 2020 WL 7027726, at *4

(N.D. Ill. Nov. 30, 2020). However, the court invited the parties to

“return to this court for resolution” if JAMS declined to arbitrate

without the payment of fees, explaining that the petitioners “should

not face checkmate.” Id.

       A few months earlier, in McClenon v. Postmates Inc., 473 F.Supp.

3d 803, 812 (N.D. Ill. 2020), Judge Rowland granted the petitioners’

motion to compel after the AAA closed the claims for Postmates’

failure to pay fees. Yet, she stopped short of ordering Postmates to

pay all fees, citing an on-going case against the same defendant in

California, Adams v. Postmates, Inc., 414 F.Supp. 3d 1246, 1255 (N.D.




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                                      RSA32
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Cal. 2019), and Dealer Computer Servs., Inc. v. Old Colony Motors,

Inc., 588 F.3d 884, 887 (5th Cir. 2009).

     In Dealer Computer, 588 F.3d at 887, cited approvingly by

Lumbermens Mut. Cas. Co. v. Broadspire Mgmt. Servs., Inc., 623 F.3d

476, 482 (7th Cir. 2010), the Fifth Circuit reversed a district

court’s order of payment of arbitral fees where the respondent

appeared unable to pay them, while the petitioner had the means.

Dealer Computer Servs., 588 F.3d at 888 n.3. The court explained,

    A difficult situation might be presented if [the
    respondent] could afford to put up its part of the arbitral
    fee attributable to its counterclaim, and [the petitioner]
    was not financially able to put up the entire thus enhanced
    fee (although being able to put up what the fee would have
    been without such enhancement), and the arbitral panel
    refused [the petitioner’s] request to proceed on its
    claims . . . However, we are not faced with any such case.

Id. This Court faces such a case.

     In   any   event,    when   the    Fifth     Circuit    in   Dealer   Computer

observed, “payment       of   fees   seems   to    be   a   procedural     condition

precedent set by the AAA,” it looked to AAA Rules R-52 and R-54,

which fall under the “General Procedural Rules” chapter of the

Consumer Rules. Id. at 887. The Rules, since updated, still list

Rules R-52 and R-54 within the “General Procedural Rules” chapter.

Rule R-52 now is titled, “Serving of Notice and AAA and Arbitrator

Communications,” and Rule R-54 is “Remedies for Nonpayment.” (See

AAA Rules, Dkt. No. 1-7.) The rules for payment of fees themselves

are contained in other chapters that lack the word “procedure.”


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                                       RSA33
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(Compare “Cost of Arbitration” and “AAA Administrative Fees” with

“Hearing Procedures” and “Procedures for the Resolution of Disputes

through Document Submission,” AAA Rules, Dkt. No. 1-7.)

       Nevertheless, the determination of “procedural” is “difficult.”

See Romspen Mortg. Ltd. P’ship v. BGC Holdings LLC - Arlington Place

One, 20 F.4th 359, 369 (7th Cir. 2021). Federal courts adjudicating

claims through pendant jurisdiction classify as substantive rather

than procedural issues that are bound up in the rights of the forum.

See USA Gymnastics v. Liberty Ins. Underwriters, Inc., 46 F.4th 571,

580 (7th Cir. 2022); Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938)

(and   its   progeny).   For   example,    attorney’s     fees    are   typically

substantive. See Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421

U.S. 240, 259 (1975). On the other hand, federal procedural rules

obliging an answer to a complaint dictate that a party who “defaults”

on their defense faces a detriment; but allowing “default” by unpaid

fees here might well benefit Samsung. See Alexi Pfeffer-Gillett,

Unfair by Default: Arbitration’s Reverse Default Judgment Problem,

171 U. PA. L. REV. 459, 488 (2023). If anything, allowing that to

stand would be making special procedural rules for arbitration –

which the courts cannot do. Morgan v. Sundance, Inc., 142 S.Ct. 1708,

1713 (2022).

       Whether from the perspective of the judiciary or through the

lens of the AAA, this Court does not see filing fees as procedural



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                                     RSA34
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in this case. The fees are bound up in the right to arbitrate that

the ADR tribunal governs. Unlike the time limit rule in Howsman that

delineates when parties can arbitrate or the collective action

provision that might instruct how, the filing fee rule affects

whether the parties can exercise their right to arbitrate at all.

Money is the means of dispute resolution, and the way to start this

process. Fees are not something the Court can “jigger” to promote or

disfavor arbitration. Johnson v. Mitek Sys., Inc., 55 F.4th 1122,

1124 (7th Cir. 2022). If it could, it might suggest a more modest

figure.

     Samsung was surely thinking about money when it wrote its Terms

& Conditions. The company may not have expected so many would seek

arbitration against it, but neither should it be allowed to “blanch[]

at the cost of the filing fees it agreed to pay in the arbitration

clause.” Abernathy v. Doordash, Inc., 438 F.Supp. 3d 1062, 1068 (N.D.

Cal. 2020) (describing the company’s refusal to pay fees associated

with its own-drafted arbitration clause as “hypocrisy” and “irony

upon irony”).

     Alas, Samsung was hoist with its own petard. See Nat’l Ass’n of

Regul. Util. Comm’rs v. U.S. Dep’t of Energy, 736 F.3d 517, 520 (D.C.

Cir. 2013); William Shakespeare, Hamlet, Act III, Scene 4. As a New

York court recently stated in a mass arbitration case involving Uber,

“While Uber is trying to avoid paying the arbitration fees associated



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                                     RSA35
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with 31,000 nearly identical cases, it made the business decision to

preclude   class,     collective,     or   representative       claims    in    its

arbitration agreement with its consumers, and AAA’s fees are directly

attributable     to   that   decision.”    Uber    Tech.,   Inc.    v.   American

Arbitration Assn., Inc., 204 A.D.3d 506, 510 (N.Y. App. Div. 2022).

Samsung made the same business decision here, and for better or for

worse, the time calls for Samsung to pay for it.

                               IV.    CONCLUSION

     For   the   reasons     stated   herein,     the   Court   grants   in    part

Samsung’s Motion to Dismiss (Dkt. No. 26) by dismissing the action

as to the 14,335 Petitioners who have failed to allege proper venue

in the Northern District of Illinois. The Court grants Petitioner’s

Motion to Compel Arbitration (Dkt. No. 2) by ordering the parties to

arbitrate, specifically ordering Samsung to pay its fee so they can.




IT IS SO ORDERED.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

Dated: 9/12/2023



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                                      RSA36
